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                                  EXHIBIT B

                       TRIALCARD MOTION
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April 19, 2024

VIA E-Mail

Hon. Freda L. Wolfson, U.S.D.J. (ret.)
Lowenstein Sandler LLP
One Lowenstein Drive
Roseland, New Jersey 07068

                 Re:   Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                       No. 2:22-cv-02632 (JKS) (CLW)

Dear Judge Wolfson:

       Defendant Save On SP LLC (“SaveOn”) moves to compel Johnson & Johnson Health Care

Systems, Inc. (with its affiliates, “J&J”) to produce responsive documents in the possession of its

vendor TrialCard, Inc. (“TrialCard”) related to work performed by TrialCard for J&J, specifi-

cally: (1) documents and communications related to TrialCard’s administration of CarePath from

the “refresh” time period of July 1, 2022 to November 7, 2023; and (2) documents and communi-

cations regarding TrialCard’s efforts on behalf of J&J to identify patients on accumulators, maxi-

mizers, and SaveOn-advised plans, including communications about Benefits Investigations.

       J&J has contractual and practical control over these documents. J&J has an agreement with

TrialCard that gives it the right to examine a broad sweep of TrialCard’s work for it and requires
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TrialCard to assist it in litigation; it produced or arranged for production of TrialCard’s documents

in this case; it has cited its productions from TrialCard as a basis to resist additional discovery; it

has asserted privilege over documents that it shared with TrialCard, calling TrialCard’s employees

“functionally” its own; and it has demanded and obtained documents from TrialCard outside of

normal discovery avenues to advance its claims. J&J and TrialCard are even represented by the

same lawyers—who have used information that SaveOn produced on a confidential basis to J&J

to advocate on behalf of TrialCard to resist discovery. Yet TrialCard withholds key documents on

the basis that it is a third party.

        Your Honor should end this gamesmanship. The reality is that J&J has control over Trial-

Card’s documents related to its work for J&J, and Your Honor should compel J&J to produce the

documents at issue. J&J cannot use its control of TrialCard as both a tactical sword and shield,

producing and obtaining information from TrialCard to advance its litigation interests while using

TrialCard’s purported third-party status to thwart SaveOn’s attempts to obtain relevant TrialCard

documents. If Your Honor finds that J&J does not have such control, at a minimum Your Honor

should order Patterson Belknap Webb & Tyler LLP (“Patterson”), which represents both Trial-

Card and J&J in this litigation, to implement an ethical wall that separates their attorneys repre-

senting these two entities to prevent TrialCard from accessing SaveOn’s confidential information.



                                       Factual Background

I.      TrialCard Operates CarePath at J&J’s Direction

        TrialCard administers CarePath for J&J. See Jun. 27, 2023 Hr’g Tr. at 90:2. TrialCard

                                                                    ,




                                                  2
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                        1
                            Ex. 3 (             ), Ex. 4 (         ),2 between the two parties. Ex. 6 at

4 (Feb. 23, 2024 Ltr.).

         See Ex. 7 at § 1.8 (JJHCS_00011273) (

                                      ); Ex. 1 at § 4(c) (JJHCS_00045387) (

                                                     ); Ex. 8 (JJHCS_00004713) (



                   ).

        TrialCard screens patients to determine their eligibility for CarePath, and



              . Ex. 1 at § 10 (JJHCS_00045387).

                        . See Ex. 9 (TRIALCARD_00002367) (

                                                                              ).

        TrialCard is deeply involved with J&J’s response SaveOn. See, e.g., Ex. 10 (TRIAL-

CARD_00001815) (

                                                      ). When asked to identify individuals




1
    The MSA
                                                                                         , see, e.g., Ex.
1 (JJHCS_00045387) (
                                                                                                       );
Ex. 2 (JJHCS_00150773) (

              ).
2
  J&J recently disclosed that it executed a new MSA with TrialCard (now called “Mercalis Inc.”)
on November 30, 2023, which J&J has not yet produced in discovery. See Ex. 5 at 1 (Apr. 12,
2024 Ltr.). That new MSA contains verbatim the same language in the sections establishing J&J’s
control over TrialCard’s documents, discussed infra. For ease of reference, the term “MSA” is
intended to refer to the MSA in force at the time, as applicable.


                                                       3
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                                                                             . See Ex. 11 at 15-16

(Jan. 17, 2023 J&J’s Supplemental R&Os to SaveOn’s First Set of Interrogatories).3



                                See, e.g., Ex. 13 (TRIALCARD_00005044) (



                                                             ); Ex. 14 (TRIALCARD_00003903)

(

                                                                                     ).



                                                                                 See Ex. 15 (CAP

Work Order); Ex. 16 at 7 (Nov. 20, 2023 Responses & Objections to SaveOnSP’s Fourth Set of

RFPs) (J&J agrees to “ask TrialCard to produce” records of its benefits investigations).

        TrialCard is withholding important documents not yet produced in discovery. While Trial-

Card produced a spreadsheet summary of the results of its Benefits Investigations for J&J, for

example, TrialCard refuses to produce documents showing how it chose which patients to inves-

tigate, how it conducted those investigations, how it determined if a patient was on an accumulator,

maximizer, or plan advised by SaveOn, or any internal communications regarding directions pro-




3

                                                    Ex. 11 at 15-16 (Jan. 17, 2023 J&J’s Supple-
mental R&Os to SaveOn’s First Set of Interrogatories). Despite prolonged negotiations, TrialCard
refused to collect custodial documents from two out of three, let alone review and produce relevant
documents. See Ex. 50 at 1 (Mar. 8, 2024 Ltr.); Ex. 12 (Feb. 16, 2024 Ltr.).


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vided to it by J&J. Although J&J has produced some communications with TrialCard about pa-

tients identified through the CAP program, see, e.g., Ex. 17 (JJHCS_00149748) (

                                                                           ), documents show that

TrialCard also                                                                          , see, e.g.,

Ex. 18 (JJHCS_00003316) (



      ), which TrialCard has not produced.

         TrialCard is also withholding documents relating to methods that it used or considered

using, in addition to Benefits Investigations, to attempt to identify members of SaveOn-advised

plans. See, e.g., Ex. 19 (TRIALCARD_00003417) (

                                                                    ); Ex. 20 (JJHCS_00026339)

(

                                                                   ). These mitigation options are

key to SaveOn’s failure-to-mitigate affirmative defense, which requires SaveOn to identify rea-

sonable steps that J&J could have taken to mitigate its alleged damages.

II.      J&J Uses Its Control of TrialCard to Help Itself While Blocking SaveOn from Dis-
         covery

         TrialCard is represented in this litigation by J&J’s counsel, lawyers at Patterson Belknap

Webb & Tyler LLP (“Patterson”). Acting as J&J’s lawyers, Patterson has helped J&J arrange

productions from TrialCard and then cited documents produced by TrialCard to help J&J oppose

producing additional discovery from J&J’s files. Yet those same lawyers, acting as TrialCard’s

counsel, have claimed that TrialCard’s purported third-party status should insulate TrialCard from

producing some of the most relevant documents in this case. This double standard cannot hold.




                                                 5
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       In response to SaveOn’s initial document requests, J&J said that it “[would] work with

Trial Card … to facilitate production of documents responsive to SaveOnSP’s requests.” Ex. 21 at

3 (Jan. 6, 2023 Ltr.). When SaveOn asked if J&J’s facilitation of productions from TrialCard meant

that J&J had possession, custody, or control of TrialCard’s documents, however, J&J said no. Ex.

22 at 3 (Feb. 7, 2023 Ltr.). J&J refused to explain how it could “facilitate” the production of doc-

uments that it did not control. Id. SaveOn served a subpoena on TrialCard that mirrored the re-

quests that it had served on J&J. Ex. 23 (Feb. 17, 2023 SaveOn’s First Subpoena of TrialCard).

       When TrialCard first responded to SaveOn’s subpoena, it asserted that because TrialCard

had “already agreed” to produce certain documents “through JJHCS,” it had no additional non-

duplicative documents to produce. Ex. 24 at 6, 7, 8, 19 (Mar. 6, 2023 TrialCard’s R&Os to

SaveOn’s First Subpoena); see also Ex. 25 at 2 (June 7, 2023 Ltr.); Ex. 26 at 2 (Aug. 24, 2023

Ltr.). TrialCard assured SaveOn, however, that it would produce documents to the same extent

that J&J did. See, e.g., Ex. 27 at 3 (April 7, 2023 Ltr.) (“TrialCard will comply with any court

order applicable to [SaveOn’s parallel requests to J&J].”); Ex. 28 at 1 (April 28, 2023 Ltr.) (“[W]e

asked whether TrialCard would produce responsive documents if JJHCS was ordered to produce

documents responsive on the same topic. You stated that TrialCard will generally produce docu-

ments to the same extent as JJHCS and will inform us if it does not.”).

       As discovery continued, J&J leveraged its control over TrialCard for tactical advantage.

In June 2023, for example, when SaveOn pressed J&J to provide discovery from J&J entities other

than JJHCS, J&J argued against doing so based in part on the fact that J&J had “made a document

production from” TrialCard. See June 27, 2023 Hr’g Tr. at 90:2-6 (“[T]he administrator is Trial-

Card, this third party that is also -- that we have identified and we’ve made a document production

from -- and probably we’ll be making more if meet-and confer -- which is still ongoing as to



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TrialCard[.]”). In October 2023, similarly, when SaveOn moved to compel J&J to produce docu-

ments about its attempts to identify members of SaveOn-advised plans, J&J argued that it need not

produce the documents that SaveOn sought because it would produce the final versions of inves-

tigation reports “from TrialCard.” See Oct. 30, 2023 Hr’g Tr. at 62:8-13 (“[W]e will also give

[SaveOn] through a production from TrialCard, which is our vendor, who we also represent and is

subject to a subpoena, we’ll give them benefit investigations that find any patient in a maximizer

or a[n] accumulator through to the present.”); see also Ex. 12 at 2 (Feb. 16, 2024 Ltr.) (acknowl-

edging that J&J “requested” TrialCard produce benefits investigations).

       J&J also cited its close relationship with TrialCard in withholding responsive documents

shared between the two companies based on purported attorney-client and work product privileges.

See Ex. 29 at Lines 1240-41 (Oct. 6, 2023 J&J Privilege Log) (withholding PL000001238-39,

                                                                                                 ); Ex.

30 at Line 2372 (Feb. 29, 2024 J&J Privilege Log) (withholding PL000002370,

                                                                                         k), id. at Line

2424 (withholding PL000002422,                                                 ). When SaveOn asked

how J&J could assert privilege over documents shared with third parties, J&J replied that TrialCard

employees are the “functional equivalent” of J&J employees. See Ex. 31 at 4 (Jan. 26, 2024 Ltr.

from C. Zielinski to T. Stone).

       While Patterson cited TrialCard’s productions and J&J’s close relationship with TrialCard

as bases to limit and withhold discovery from J&J, however, Patterson resisted producing relevant

documents from TrialCard on the ground that TrialCard is a third party. TrialCard initially refused

to search the files of any custodians, see Ex. 32 at 2 (Jun. 16, 2023 Ltr.), calling custodial discovery

“unnecessary to fulfill our obligations under the subpoena,” see Ex. 33 at 1 (Jun. 30, 2023 Ltr.).



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After months of negotiation, TrialCard agreed to search the files of four custodians, but called

requests to add more “grossly disproportionate to TrialCard’s status as a third-party,” see Ex. 34

at 2 (Aug. 3, 2023 Ltr.), and “disproportionate given TrialCard’s very narrow role in the events

relevant to this litigation,” see Ex. 26 at 2-3 (Aug. 24, 2023 Ltr.).

       Even as TrialCard claimed burden as a third party, see, e.g., Ex. 25 at 1 (Jun. 7, 2023 Ltr.),

Ex. 32 at 2 (Jun. 16, 2023 Ltr.), Ex. 34 at 2 (Aug. 3, 2023 Ltr.), Ex. 26 at 3 (Aug. 24, 2023 Ltr.),

it refused to state who was paying TrialCard’s fees and costs—strongly suggesting that J&J is

doing so. See Ex. 33 at 2 (Jun. 30, 2023 Ltr.); see also Ex. 3 § 17.2 (



                                               ).

       Then SaveOn uncovered TrialCard’s central role in J&J’s CAP program, which J&J had

adopted with TrialCard’s help to respond to accumulators, maximizers, and SaveOn, starting in or

around January 2022. As of late last year, the parties had agreed to end most document production

as of July 1, 2022, resulting in J&J and TrialCard producing only six months of limited information

about this critical effort. In the fall of 2023, SaveOn moved to compel J&J to produce additional

documents related to the CAP Program through the present—which the Court granted. See Oct.

30, 2023 Hr’g Tr. at 76:16-21. J&J then immediately moved the Court to compel both J&J and

SaveOn to update their discovery responses “without limitation” through November 7, 2023—

which the Court also granted. Dkt. 173 at 3.

       Although Patterson (on behalf of J&J) had argued to the Court that J&J needed and would

produce documents from the refresh period, Patterson (on behalf of TrialCard) claimed that Trial-

Card’s documents on the same subjects from the same time period were irrelevant and too burden-

some to produce. See Ex. 35 at 1, n.1 (Dec. 22, 2023 Ltr.). TrialCard reneged on its promise to



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produce documents to the same extent as J&J, claiming that SaveOn’s subpoena technically did

not extend through November 2023. See Ex. 35 at 2 (Dec. 22, 2023 Ltr.).

       To address TrialCard’s technical objection, SaveOn promptly served TrialCard with a sec-

ond subpoena, requesting documents through the “present” and adding requests about the CAP

program. Ex. 36 at 11 (TrialCard Second Subpoena). In response, however, TrialCard refused to

produce anything new, including huge swaths of documents from the time period after July 1, 2022

when the CAP program was most active. Ex. 37 (Dec.15, 2023 TrialCard R&Os to SaveOn’s Sec-

ond Subpoena); see also Ex. 38 at 1-2 (Mar. 1, 2024 Ltr.).

       While TrialCard refused to produce updated discovery to SaveOn, J&J obtained documents

from TrialCard outside of discovery to support its own case. During a November 10, 2023 depo-

sition, Patterson (on behalf of J&J) confronted SaveOn employee Ayesha Zulqarnain with record-

ings of phone calls that she had made to CarePath, apparently recorded by TrialCard. See, e.g., Ex.

39 (Nov. 10, 2023 Dep. of Ayesha Zulqarnain), at 103:5-105:25.4 While Patterson refused to say

how J&J had obtained the recordings, id. at 298:19-300:23, TrialCard later produced the record-

ings to SaveOn, showing that the materials originated with TrialCard. Compare, e.g., Ex. 40, (Ex-

hibit 49 to the Zulqarnain deposition) (call recording played at Tr. 169:22-23) with Ex. 41 (TRIAL-

CARD_00008915) (same call recording); see also Ex. 42 at 5 (Mar. 22, 2024 Ltr.) (confirming

that “at JJHCS’s request, TrialCard agreed to produce these 16 call recordings” but refusing to

answer SaveOn’s questions about the incident, directing “any further questions regarding these

call recordings to JJHCS”). This shows that TrialCard had provided the materials to J&J, even




4
 See id. at 106:11-107:14, 113:6-114:12, 117:13-118:11, 126:11-127:19, 129:21-130:22, 134:13-
135:23, 139:12-140:8, 145:16-146:16, 147:15-148:14, 155:19-156:18, 168:22-169:13, 177:24-
178:17, 183:22-184:17, 195:20-196:15, 277:21-278:14.


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though J&J never subpoenaed TrialCard, and that J&J and TrialCard withheld the materials from

SaveOn, even though they were called for by both SaveOn’s document requests to J&J and its

subpoena to TrialCard.5

       Patterson then improperly used Zulqarnain’s confidential deposition testimony—which it

had learned only as counsel for J&J—on behalf of TrialCard. During a January 12, 2024 meet-

and-confer, a Patterson attorney who represents both TrialCard and J&J cited Zulqarnain’s testi-

mony on behalf of TrialCard to resist producing documents in response to SaveOn’s second sub-

poena. See Ex. 45 at 1 (Jan. 30, 2024 Ltr.). Because SaveOn had designated that testimony as

“Confidential” under the Discovery Confidentiality Order (“DCO”), see Ex. 46 at 1 (Jan. 4, 2024

Ltr.), Patterson’s use of this information on behalf of TrialCard without SaveOn’s consent violated

the DCO. Dkt. 62 ¶ 8. In correspondence, Patterson acknowledged citing Zulqarnain’s deposition

testimony but denied that its “passing” reference was a violation. See Ex. 47 at 1 (Feb. 1, 2024

Ltr.). When SaveOn asked Patterson to ensure that it would not again use SaveOn’s confidential

information on behalf of TrialCard, including by implementing an ethical wall between the teams

representing TrialCard and J&J, Patterson refused. Ex. 12 at 2 (Feb. 16, 2024 Ltr.); Ex. 48 at 1-2

(Feb. 22, 2024 Ltr.).




5
  See Ex. 43 at 12 (SaveOn’s First Set of Requests for Production) (RFP No. 8 requests “All Doc-
uments and Communications with or regarding SaveOnSP”). J&J agreed to produce “all non-priv-
ileged documents and communications in its possession with or regarding SaveOnSP from the
relevant Time Period, to the extent such documents and communications exist and can be located
after a reasonable search.” See Ex. 44 at 10 (J&J’s R&Os to SaveOn’s First Set of RFPs). SaveOn
sent a similar request to TrialCard. See Ex. 23 at 10 (SaveOn’s First Subpoena to TrialCard) (RFP
No. 3 requests “All Documents and Communications with or regarding SaveOnSP, including those
between You and JJHCS, You and any patients, and You and any other Hub Entity”).


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III.   J&J Withholds Relevant TrialCard Documents While Refusing to Acknowledge Its
       Control of Those Documents

       TrialCard continues to withhold critical documents from SaveOn. TrialCard refuses to pro-

duce (1) documents and communications related to TrialCard’s administration of CarePath from

the “refresh” time period of July 1, 2022 to November 7, 2023, see Ex. 49 at 1 (Jan. 12, 2024 Ltr.)

(confirming impasse on refresh production); and (2) document and communications regarding

TrialCard’s efforts on behalf of J&J to identify patients on accumulators, maximizers, and SaveOn-

advised plans, including communications about Benefits Investigations, see Ex. 01 at 2-3 (Mar. 8,

2024 Ltr.) (confirming impasse on RFPs related to these efforts). SaveOn is thus at impasse with

TrialCard on the production of these documents.

       Having thus reached impasse, SaveOn asked if TrialCard would consent to bring the par-

ties’ disputes to the Special Master, Ex. 51 at 2 (Dec. 27, 2023 Ltr.); as it had agreed to bring a

prior dispute to Judge Waldor, Ex. 52 (July 6, 2023 Ltr.). This time, TrialCard refused. Ex. 49

(Jan. 12, 2024 Ltr.). To get documents directly from TrialCard, consequently, SaveOn would have

to move to compel compliance with its subpoenas in North Carolina, burdening another federal

court with a dispute over documents that J& controls and which the Special Master is best placed

to resolve.

       On March 13, 2023, citing the MSA and the extensive evidence of J&J’s control of Trial-

Card, SaveOn asked J&J to acknowledge that it has possession, custody, or control of TrialCard’s

documents relating to its work for J&J. See Ex. 53 (Mar. 13, 2024 Ltr.). J&J waited a month to

respond. See Ex. 5 (Apr. 12, 2024 Ltr.). J&J said: “[W]e do not agree that, as a categorical matter,

JJHCS has control over all of TrialCard’s documents relating to its services for JJHCS.” Id. at 1.

SaveOn and J&J are thus at impasse over whether J&J must produce the documents that TrialCard

withholds.


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       In its delayed response, J&J tried a stall tactic: It said that the MSA might give J&J control

over some of TrialCard’s documents and asked SaveOn to identify the “categories of documents”

that SaveOn seeks so that J&J “can assess” if they fall under the MSA and then “confer further

with TrialCard concerning this subject.” Id. at 2. This is disingenuous. J&J knows what documents

SaveOn seeks from TrialCard—J&J’s counsel refused to produce those same documents in its

capacity as counsel for TrialCard. See Ex. 49 at 1 (Jan. 12, 2024 Ltr.); Ex. 50 at 2-3 (Mar. 8, 2024

Ltr.). J&J also knows that SaveOn believes that all the requested documents fall under the very

broad MSA, see Ex. 53 at 1-2 (Mar. 13, 2024 Ltr.), yet J&J did not identify which documents it

believes might fall outside that contract. Ex. 5 at 2 (Apr. 12, 2024 Ltr.). J&J further knows that

SaveOn asserts that J&J has the practical ability to obtain documents from TrialCard, regardless

of its legal rights under the MSA, Ex. 53 at 3 (Mar. 13, 2024 Ltr.), yet J&J did not address this

point at all, instead pretending that the only issue was the MSA’s scope. Ex. 5 at 1-2 (Apr. 12,

2024 Ltr.). J&J finally does not explain why it took a month to provide this short, non-substantive

response. The Court should not abide these delay tactics. The parties are at impasse.

                                            Argument

I.     J&J Has Possession, Custody, or Control of TrialCard’s Documents Regarding Trial-
       Card’s Work for J&J

       Federal Rule of Civil Procedure 34(a) provides that a party must produce documents within

its “possession, custody, or control.” Fed. R. Civ. P. 34(a). “Federal Courts construe ‘control’ very

broadly under Rule 34.” Maniscalco v. Brother Int’l Corp., No. 3:06-CV-4907 (FLW), 2010 WL

762194, at *4 (D.N.J. Mar. 5, 2010). A party has control over documents if it (1) “has the legal

right” to the documents or (2) has the “ability to obtain the documents from another source upon

demand.” Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 160 (3d Cir. 2004). Here, both




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tests show that J&J has possession, custody, or control over the documents relating to TrialCard’s

work for J&J. J&J must therefore produce the documents that SaveOn requests.

        A.        J&J Has a Contractual Right to the Documents

        J&J has control of TrialCard’s documents related to its work for J&J because J&J has a

contractual right to those documents. “[A] litigating party has control of documents if a contractual

obligation requires a non-party to provide requested documents to the litigating party upon de-

mand.” Haskins v. First Am. Title Ins. Co., No. 10-CV-5044 (RMB)(JS), 2012 WL 5183908, at *1

(D.N.J. Oct. 18, 2012). In Haskins, a contract “plainly” established a litigant’s control over an

agent’s documents where it (1) required the agent to maintain books and records; (2) gave the

litigant the right to examine those books and records at any reasonable time; and (3) required the

agent to cooperate in litigation if requested by the litigant. Id. at *2.

        The same is true here.

              :




Ex. 4 at § 17.1. It                                                           :




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Id. And it provides—twice—that                                                      :




Id. at § 8.2.




Id. at § 17.2.

        The documents that SaveOn seeks from TrialCard—regarding TrialCard’s work for J&J—

fall within the extraordinarily broad categories of material that the MSA requires TrialCard to

maintain and allows J&J to audit and examine. This includes communications regarding the ad-

ministration of CarePath, call recordings and other records reflecting communications between

TrialCard’s CarePath call center and patients, and documents and communications related to the

implementation of the CAP program and TrialCard’s Benefits Investigations.

        Because J&J has the contractual right to require TrialCard to produce documents relating

to its work for J&J and to compel TrialCard to cooperate in litigation, it has legal control over

those documents. See Haskins, 2012 WL 5183908 at *2-4 (holding that litigant had possession,

custody, or control over agent’s files where contract gave it “control over and access to” the agent’s


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files and, should the agent refuse to produce the files, the litigant could sue the agent for breach of

contract); see also Mercy Catholic, 380 F.3d at 160-61 (party had “control” over documents that

it had the right to “audit and receive”); Andrews v. Holloway, 256 F.R.D. 136, 145 (D.N.J. 2009)

(party would have “control” over documents if “he himself would have a right to access the docu-

ments or obtain copies of them”); In re Generic Pharms. Pricing Antitrust Litig., 571 F. Supp. 3d

406, 410–11 (E.D. Pa. 2021) (Office of Attorney General had “control” over documents from other

agencies because it had “the right to access at all times” those documents).

       B.        J&J Has the Practical Ability to Obtain the Documents.

       J&J can also obtain TrialCard’s documents relating to its work for J&J as a practical matter.

“[A] company’s ability to demand and have access to documents in the normal course of business

gives rise to the presumption that such documents are in the litigating corporation’s control.” Cam-

den Iron & Metal, Inc. v. Marubeni Am. Corp., 138 F.R.D. 438, 443 (D.N.J. 1991). “Where the

relationship is thus such that the agent-subsidiary can secure documents of the principal-parent to

meet its own business needs and documents helpful for use in the litigation, the courts will not

permit the agent-subsidiary to deny control for purposes of discovery by an opposing party.” Ger-

ling Int’l Ins. Co. v. Comm’r of Internal Revenue, 839 F.2d 131, 141 (3d Cir. 1988). This is espe-

cially true where the non-party “played a significant role” in the events at issue. Camden Iron, 138

F.R.D. at 443.

       J&J has repeatedly shown that it can obtain documents from TrialCard for its use in this

litigation. J&J stated at the outset of discovery that it would “facilitate” TrialCard’s production of

documents in response to document requests served on J&J, Ex. 21 at 3 (Jan. 6, 2023 Ltr.); it stated

that TrialCard would produce documents “through” J&J, Ex. 54 at 3 (Jan. 27, 2023 Ltr.); and it

told the Court that “[J&J has] made document production from” TrialCard, Jun. 27, 2023 Hr’g Tr.

at 90:2-6, and that “[J&J] will also give [SaveOn] through a production from TrialCard, which is

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our vendor,” documents regarding benefits investigations, Oct. 30, 2023 Hr’g Tr. at 62:9-13—all

showing that J&J can control TrialCard’s production of documents. J&J obtained recordings of

phone calls involving Zulqarnain from TrialCard that TrialCard had not produced to SaveOn—

showing that J&J can demand documents from TrialCard when it wants them. See, e.g., Ex. 39

(Nov. 10, 2023 Dep. of Ayesha Zulqarnain), at 103:5-105:25. J&J provided information about

TrialCard in response to SaveOn’s interrogatories—showing that

                                   . See Ex. 11 at 15-16 (Jan. 17, 2023 J&J’s Supplemental R&Os

to SaveOn’s First Set of Interrogatories). And J&J has argued that TrialCard’s employees are the

functional equivalents of J&J’s own employees—indicating that J&J directly controls TrialCard’s

work and potential custodians. See Ex. 29 at Lines 1240-41; Ex. 30 at Lines 2372, 2424.

       The overwhelming evidence that J&J can obtain documents from TrialCard, which plays a

“significant role” in the subject matter of this litigation, is an independently sufficient basis to

conclude that J&J has possession, custody, or control over TrialCard’s documents regarding Trial-

Card’s work for J&J. Camden Iron, 138 F.R.D. at 443-44 (holding that retailer had possession of

its processor’s parent’s documents where retailer had “easy and customary access” to documents

and could “obtain such documents … for its usual business needs,” including litigation); see also

Sanofi-Aventis v. Sandoz, Inc., 272 F.R.D. 391 (D.N.J. 2011) (finding that company had possession

of sister company’s documents where sister performed acts at company’s request, company ar-

ranged for production of sister’s documents, and sister developed and manufactured product at

issue at company’s behest).

       This conclusion is especially appropriate here to remedy J&J’s attempts to use its control

of TrialCard for tactical advantage. J&J used that control to have TrialCard produce materials

when it benefited J&J: J&J arranged for TrialCard to produce some documents in response to



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SaveOn’s requests to J&J, see Ex. 21 at 3 (Jan. 6, 2023 Ltr.) (J&J agrees to facilitate a production

from TrialCard), Ex. 24 at 6, 7, 8, 19 (Mar. 6, 2023 TrialCard’s R&Os to SaveOn’s First Subpoena)

(TrialCard lists documents it had “already agreed to produce through” J&J); it invoked TrialCard’s

productions in asking the Court not to compel J&J to produce additional documents, Oct. 30, 2023

Hr’g Tr. at 62:9-13; it asserted that TrialCard’s employees are functionally its own to argue that

materials shared by the companies are privileged, Ex. 31 at 4 (Jan. 26, 2024 Ltr.); and it obtained

documents from TrialCard to bolster its own case, Ex. 39 at 103:5-105:25 (Nov. 10, 2023 Dep. Of

Ayesha Zulqarnain). But when SaveOn sought additional documents from TrialCard—including

materials that would further expose J&J’s failure to mitigate its purported damages—TrialCard

argued that it is a third party and that it need not abide by its prior agreement to produce to the

same extent as J&J, and not refused to consent to the Special Master’s jurisdiction. See Ex. 35 at

2-3 (Dec. 22, 2023 Ltr.) (refusing to refresh its production on the basis that it is a third party); Ex.

49 (Jan. 12, 2024 Ltr. from S. Arrow to E. Snow) (refusing to consent to Special Master).

       J&J “cannot have it both ways”; it cannot be permitted to continue to use its affiliation with

TrialCard “as both a sword and a shield.” Sanofi-Aventis, 272 F.R.D. at 396 (holding that “[c]om-

mon sense and traditional notions of justice demand that [the company] is required to provide

discovery about [its sister company] in this litigation”). J&J has legal and functional control over

TrialCard’s documents related to its work for J&J and cannot hide behind TrialCard’s purported

status as a third party to withhold documents.

       C.      If J&J Does Not Control TrialCard’s Documents Concerning Its Work for
               J&J, Then the Two Entities Cannot Be Represented by the Same Counsel.

       J&J’s decision to use its control of TrialCard’s documents tactically in this litigation has

prejudiced SaveOn. SaveOn should have been able to negotiate with J&J for a common scope of

production from both J&J and TrialCard, as Patterson represented would be the case in the early


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months of discovery. J&J instead has had TrialCard selectively withhold documents, forcing

SaveOn to negotiate separately with the same lawyers about production of similar documents on

the same subjects from the two entities, which has delayed SaveOn’s ability to obtain relevant

material. J&J directed TrialCard to provide it with documents about CarePath that TrialCard did

not produce to SaveOn. At the same time, Patterson (representing J&J) used confidential infor-

mation that SaveOn produced only to J&J in advocating as TrialCard’s counsel to resist producing

relevant materials to SaveOn. The only cure for this prejudice is to recognize that J&J controls

TrialCard’s documents, ending J&J’s ability to play such games.

       If Your Honor were to hold that J&J does not control TrialCard’s documents, however, at

a minimum Your Honor should rule that the same lawyers cannot continue to represent both J&J

and TrialCard in this case. If J&J does not control TrialCard’s documents, SaveOn would have to

negotiate with TrialCard’s attorneys to obtain the documents and likely proceed to motion practice

against TrialCard in North Carolina. Any attorney representing TrialCard in such discovery nego-

tiations and motion practice who also represents J&J in this case would have access to SaveOn’s

confidential information and would inevitably be torn between her obligations to zealously repre-

sent TrialCard’s interests and her obligations not to use SaveOn’s confidential information in do-

ing so. This conflict would be heightened if those attorneys worked for Patterson, because J&J is

a “long-standing and lucrative client” of the firm. Ex. 55 (D.C. Ethics Op. 381).

       If J&J does not control TrialCard’s documents, while Your Honor would be justified in

fully disqualifying Patterson from representing one or the other entity, a narrower remedy would

be to require Patterson to impose an ethical wall between the attorneys representing the entities,

ensuring that no attorney representing TrialCard has (or had) access to SaveOn’s confidential ma-

terial. This should safeguard SaveOn’s confidentiality while preserving TrialCard’s ability to be



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represented by Patterson. See, e.g., Wyeth v. Abbott Lab’ys, 692 F. Supp. 2d 453 (D.N.J. 2010)

(declining to disqualify counsel where “no … personnel overlap on the two matters” and “[t]he

firm has put up an ethical screen between these personnel to ensure confidential information does

not pass between them”); Bos. Sci. Corp. v. Johnson & Johnson Inc., 647 F. Supp. 2d 369, 375 (D.

Del. 2009) (where there was “significant confusion … as to which entity or entities it was repre-

senting,” “the court decline[d] to disqualify [counsel] … and instead order[ed] [counsel] to main-

tain its ethical wall”); see also Hempstead Video, Inc. v. Inc. Vill. of Valley Stream, 409 F.3d 127,

138 (2d Cir. 2005) (“We see no reason why, in appropriate cases and on convincing facts, isola-

tion—whether it results from the intentional construction of a ‘Chinese Wall,’ or from de facto

separation that effectively protects against any sharing of confidential information—cannot ade-

quately protect against taint.”).6

        SaveOn appreciates Your Honor’s attention to this matter.

                                          Respectfully submitted,


                                          /s/ E. Evans Wohlforth, Jr.
                                          E. Evans Wohlforth, Jr.
                                          Robinson & Cole LLP
                                          666 Third Avenue, 20th floor
                                          New York, NY 10017-4132
                                          Main (212) 451-2900
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                                          ewohlforth@rc.com




6
  Your Honor may hear this alternative request because it relates to a discovery dispute. See Dkt
No. 184, at 4 (“The Special Master shall oversee the schedule for completion of discovery and all
discovery disputes and motions related thereto”). Courts in this District have inherent authority “to
insure compliance with juridical orders and to remediate violations of those orders,” Inst. for Mo-
tivational Living, Inc. v. Doulos Inst. for Strategic Consulting, Inc., 110 F. App’x 283, 288 (3d
Cir. 2004), and the DCO granted explicit jurisdiction to “enforce any obligations arising hereunder
or to impose sanctions for any contempt thereof,” see Dkt. 62 ¶ 21.


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                                                                                                        www.pbwt.com




April 12, 2024                                                                         Saniya Suri
                                                                                       (212) 336-2226


VIA EMAIL

Hannah R. Miles, Esq.
Selendy Gay, PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Possession, Custody, and Control of TrialCard’s Documents
                           Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           2:23-cv-02632 (JKS) (CLW)
Dear Hannah:

             We write in response to SaveOnSP’s March 13, 2024 letter regarding whether
JJHCS has possession, custody, or control of documents held by TrialCard, Inc. (“TrialCard”).

               In your letter, you claim that JJHCS has the legal right to obtain upon demand, and
thus controls, all “documents in TrialCard’s possession relating to TrialCard’s services for
[JJHCS].” Mar. 13, 2024 Ltr. from H. Miles to S. Arrow at 3.


                                                                       See, e.g.,
JJHCS_00011325, JJHCS_00011339 JJHCS_00011346, JJHCS_00011352, JJHCS_00011354,
JJHCS_00011355, JJHCS_00011357, JJHCS_00011358, JJHCS_00011319, JJHCS_00011320,
JJHCS_00025068, JJHCS_00025072.

               Based on our reasonable investigation, we understand that the Amended and
Restated Master Services Agreement dated November 30, 2023 (the “2024 MSA”) is the current
operative agreement between JJHCS and TrialCard, and that it went into effect on January 1, 2024.
JJHCS has attached the relevant agreement to this letter as Exhibit A and intends to produce it to
SaveOnSP on or before May 10, 2024.

               In any event, we do not agree that, as a categorical matter, JJHCS has control over
all of TrialCard’s documents relating to its services for JJHCS. Rather, under the 2024 MSA,

                                                                            See 2024 MSA § 17.1. There may




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Hannah R. Miles, Esq.
April 12, 2024
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well be other types of documents relating to TrialCard’s services for JJHCS that are not covered
by § 17.1.1

               Absent from your letter is an explanation of what categories of documents
SaveOnSP seeks to obtain from TrialCard. As you acknowledge, TrialCard has been cooperative
and produced documents in response to SaveOnSP’s third-party subpoena and at the request of
JJHCS. Given that JJHCS has no categorical right to TrialCard’s files, please let us know with
specificity what additional categories of documents SaveOnSP seeks so that JJHCS can assess
whether those documents fall within the ambit of the relevant MSA.

                 Once SaveOnSP clarifies which documents it seeks, JJHCS will determine whether
it agrees that those documents are subject to the relevant MSA and confer further with TrialCard
concerning this subject.

                                                       Very truly yours,

                                                       /s/ Saniya Suri
                                                       Saniya Suri




1
 For the avoidance of doubt, JJHCS does not have possession or custody of these documents. See
Fed. R. Civ. P. 34(a).



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                     Exhibit 6
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  Hannah R. Miles
  Associate
  212 390 9000
  hmiles@selendygay.com




  February 23, 2024



  Via E-mail

  Sara A. Arrow
  Patterson Belknap Webb & Tyler LLP
  1133 Avenue of the Americas
  New York, NY 10036

  Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
           LLC (Case No. 2:22-cv-02632-ES-CLW)

  Dear Sara,

         We write regarding the February 20, 2024 meet and confer with TrialCard.
  TrialCard refused to add any of the seven custodians proposed by SaveOn (“Pro-
  posed Custodians”): (1) Jason Zemcik, (2) Richard (“Rick”) Ford, (3) April Harri-
  son, (4) Tommy Gooch, (5) Lynsi Newton, (6) Amber Maldonado, and (7) Cosimo
  Cambi. See Jan. 30, 2024. Ltr. from H. Miles to S. Arrow. The parties are at im-
  passe over this issue.

          First, you refused to substantiate your burden objection. You assert that any
  relevant documents the Proposed Custodians might have would be duplicative of
  documents already produced in this litigation. But you admitted that you have not
  collected or run searches over the custodial documents of those custodians. You
  indicated that the process to measure burden by collecting and searching custodial
  documents itself is burdensome. However, you refused to answer whether J&J was
  paying TrialCard’s fees. Thus, TrialCard has not carried its burden of substantiat-
  ing its burden objection. See Jan. 30, 2024 Ltr. from H. Miles to S. Arrow at 1-2.

         Second, we explained that TrialCard documents that reference “accumula-
  tor” or “maximizer” but do not mention SaveOn specifically are relevant. You as-
  sert that accumulators and maximizers is a huge topic that often has nothing to do
  with SaveOn. TrialCard, like J&J, considers SaveOn to fall under the general terms
  “accumulator” and “maximizer” and, therefore, makes reference to SaveOn when
  they mention those terms. You requested that SaveOn propose a limiter. We pro-
  posed narrowing the scope to exclude documents and communications about
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  Sara A. Arrow
  February 23, 2024



  accumulators and maximizers that only specifically discuss non-SaveOn entities,
  for example PrudentRx. You refused to agree to this limiter.

          Third, each Proposed Custodian, as described below, is likely to have unique
  relevant documents. You refused to add any Proposed Custodian. See Feb. 16, 2024
  Ltr. from K. Brisson to H. Miles.

           Jason Zemcik:


                                                            See,
  e.g., TRIALCARD_00003383–85;    TRIALCARD_00001804;    TRIAL-
  CARD_00001815; TRIALCARD_00001884; TRIALCARD_00003340; TRIAL-
  CARD_00001951; TRIALCARD_00002804; TRIALCARD_00002931; TRIAL-
  CARD_00008937; TRIALCARD_00008932; TRIALCARD_00009019; TRIAL-
  CARD_00008939.

                                            .

           Richard (“Rick”) Ford: Rick Ford is relevant because

      . See, e.g., TRIALCARD_00001811; TRIALCARD_00001951; TRIAL-
  CARD_00001811; TRIALCARD_00000348; TRIALCARD_00001966; TRIAL-
  CARD_00001881; TRIALCARD_00000356; TRIALCARD_00000362; TRIAL-
  CARD_00000389; TRIALCARD_00006722; TRIALCARD_00002552; TRIAL-
  CARD_00002430. You stated that you object to adding Rick Ford both on a rele-
  vance objection and a burden objection, and that any of his relevant documents are
  captured by other custodians.

         April Harrison: April Harrison is relevant both for her involvement in the
  CAP program and her involvement in TrialCard’s responses to the Best Price Rule.
  You stated that the topic of the Best Price Rule is not properly directed to TrialCard.
  However,
                                 See, e.g., TRIALCARD_00003903 (

                                                                                    ).
  We explained, at length, why the Best Price Rule is relevant to the litigation, and
  why it is properly directed to TrialCard: (1) The Best Price Rule created strong fi-
  nancial incentives for J&J to not investigate where the dollars it spent through
  CarePath were going until the 2023 Best Price Rule was enacted, when the incen-
  tives flipped. This regulatory framework helps explain why J&J failed to mitigate
  its damages, and acquiesced to SaveOn members enrolling in CarePath, until its
  incentives flipped. (2) The timing of what J&J knew about the flipped incentive of
  the Best Price Rule, including what it learned and said in discussions with Trial-
  Card, is relevant to J&J’s interpretation of its CarePath Terms and Conditions. If
  the timing aligns, it could support an inference that J&J created a “made-for-liti-
  gation” position that SaveOn patients violate the “other offer” provision of


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  CarePath’s Terms and Conditions. (3) J&J asserted in its complaint that CarePath
  dollars go to SaveOn, see, e.g., Compl. At ¶ 1–5, 8, 15, but SaveOn disputes that
  J&J believed its own assertion. This is because if J&J believed, when it filed its
  complaint, that CarePath dollars went to SaveOn, it would have owed “billions of
  extra dollars to the government” by operation of the Best Price Rule. SaveOn is
  permitted to test the apparently inconsistent position held by J&J, and one means
  to do so is through a custodial search of April Harrison’s documents for what J&J
  knew, learned, or believed about the operation of the Best Price Rule in its com-
  munications with her.

           Tommy Gooch: Tommy Gooch is relevant because

           See, e.g., TRIALCARD_00005044. You stated that you disagree with our
  view of the role Tommy Gooch played, and that any relevant documents he pos-
  sesses could be produced through party discovery.

           Lynsi Newton: Lynsi Newton is relevant because of

                                                            . See, e.g., TRIAL-
  CARD_00008594. You stated that any relevant documents in her possession can
  also be pursued through party discovery.

         Amber Maldonado: Amber Maldonado is relevant because she was
  highly involved in the CAP program rollout process, a program central to the
  claims and defenses in this litigation. You stated that any relevant documents in
  her possession can also be pursued through party discovery.




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           Cosimo Cambi:


                                              See TRIALCARD_00000334.

          See id.; see also TRIALCARD_00002656. You stated that Cambi is not rel-
  evant and identified that the “crux” of our disagreement over the relevance of cus-
  todians generally is that TrialCard “administers” but does not “run” CarePath. We
  briefly discussed the difference between those two terms. You stated that TrialCard
  is a vendor that J&J engaged, pursuant to contract, to perform a service at the di-
  rection of JJHCS. You supported this assertion by saying (1) TrialCard is subject
  to a contractual agreement with J&J; (2) TrialCard is reporting back to J&J when
  it does work for CarePath; (3) the decisions for what to communicate to patients is
  being made at J&J; (4) J&J gives instruction and direction to TrialCard about how
  to administer CarePath, and (5) TrialCard does not exercise decision making re-
  sponsibility over how to administer CarePath. We asked why this means TrialCard
  does not run CarePath, and stated our understanding that Trialcard enrolls pa-
  tients in CarePath and disburses CarePath funds to patients. You could not confirm
  this understanding on the call.

  Sincerely,

  /s/ Hannah R. Miles

  Hannah R. Miles
  Associate




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Attorneys for Plaintiff Johnson & Johnson Health Care
Systems Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  JOHNSON & JOHNSON HEALTH CARE                    Civil Action No. 22-2632 (JMV) (CLW)
  SYSTEMS INC.,
                                                    PLAINTIFF JOHNSON & JOHNSON
                        Plaintiff,                   HEALTH CARE SYSTEMS INC.'S
                                                    RESPONSES AND OBJECTIONS TO
                V.                                   DEFENDANT SAVE ON SP, LLC'S
                                                    FIRST SET OF INTERROGATORIES
  SA VE ON SP, LLC,

                        Defendant.
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                                    GENERA L OBJECTIONS

       Johnson and Johnson Health Care Systems, Inc. ("JJHCS") incorporates each of the

General Objections below into its specific objections to each Interrogatory, whether or not each

such General Objection is expressly referred to in JJHCS's objections to a specific Interrogatory.

JJHCS's investigation of facts related to this Action is ongoing. It reserves the right to supplement,

amend, modify, or correct its responses under Rule 26(e) should it discover additional information

or grounds for objections at any time prior to the conclusion of this Action. The following

responses and objections are based upon information known at this time.

        1.     JJHCS objects to the Interrogatories to the extent that they seek material or

information protected from disclosure by a privilege including, without limitation, the attorney-

client privilege, the work-product doctrine, the joint defense privilege, the common interest

privilege, the First Amendment privilege, or any privilege recognized by the Federal Rules of

Civil Procedure, the Local Rules of the Court, and/or relevant case law.

       2.      JJHCS objects to the Interrogatories to the extent that they seek information that

is not relevant to a claim or defense or to the subject matter of this litigation. Any response JJHCS

makes to any Interrogatory shall not be deemed an admission that the response, information,

document, or thing produced is relevant to a claim or defense or to the subject matter of this

litigation, is reasonably calculated to lead to the discovery of admissible evidence, is material, or

is admissible as evidence.

       3.      JJHCS objects to the Interrogatories to the extent that they are vague and/or

ambiguous.

       4.      JJHCS objects to the Interrogatories to the extent that they require interpretation

or legal analysis by JJHCS in providing a response. JJHCS responds to the Interrogatories as it

interprets and understands each Interrogatory as set forth. If SaveOnSP subsequently asserts an
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interpretation of any Interrogatory that differs from JJHCS's understanding of that Interrogatory,

JJHCS reserves the right to modify or supplement its objections and responses.

        5.     JJHCS objects to the Interrogatories to the extent that they are duplicative of

document requests, other interrogatories, and/or other discovery requests.

        6.     JJHCS objects to the Interrogatories to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

JJHCS further objects to the Interrogatories to the extent that they assume facts that do not exist

or the occurrence of events that did not take place.

        7.     JJHCS objects to the Interrogatories to the extent that they seek information

relating to any business affairs other than those that are the subject of the Action.

        8.     JJHCS objects to the Interrogatories to the extent that they seek information that

is not in JJHCS's possession, custody, or control.

                               OBJECTIONS TO DEFINITIONS

        1.        JJHCS objects to the definition of the term "Janssen" to the extent the term is

used to seek information in the possession of entities other than JJHCS. JJHCS further objects

to the definition as overbroad, unduly burdensome, and not proportional to the needs of the case

to the extent it purports to include "any and all predecessors and successors in interest, assignees,

parents, subsidiaries, affiliates, divisions or departments, agents, representatives, directors,

officers, employees, committees, attorneys, accountants and all persons or entities acting or

purporting to act on behalf' of those entities.

       2.      JJHCS objects to the definition of the term "Janssen Drug" as irrelevant to the

extent it purports to include drugs that are not covered by CarePath. JJHCS further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes "any Specialty Drug manufactured or sold by Janssen from any time."
                                                  2
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       3.       JJHCS objects to the definition of the term "JJHCS" to the extent it purports to

include attorneys, accountants, or others who may be outside of JJHCS's control. JJHCS further

objects to the definition as overbroad, unduly burdensome, and not proportional to the needs of

the case to extent it purports to include "any and all predecessors and successors in interest,

assignees, parents, subsidiaries, affiliates, .. . agents, [or] representatives" or purports to include

entities and persons acting or purporting to act on behalf of or under the control of entities other

than Johnson & Johnson Healthcare Systems, Inc.

       4.       JJHCS objects to the definition of the term "JJHCS Hub Entity" as vague and as

irrelevant to the extent it purports to include entities other than those within JJHCS responsible

for administering CarePath from January 1, 2017 to the present. JJHCS further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes "any and all predecessors and successors in interest, assignees, parents,

subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf' of those entities. JJHCS further objects on the ground that the phrase "administer,

in whole or in part, CarePath" is vague and ambiguous. JJHCS further objects to the extent the

term is used to seek information in the possession of entities other than JJHCS.

       5.       JJHCS objects to the definition of the term "Lash Group" as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes "any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control




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of The Lash Group, Inc." JJHCS further objects to the extent the tennis used to seek infonnation

in the possession of entities other than JJHCS.

       6.      JJHCS objects to the definition of the term "TrialCard" as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes "any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control

of Trial Card Inc." JJHCS further objects to the extent the term is used to seek infonnation in the

possession of entities other than JJHCS.

                           OBJECTIONS TO THE TIME PERIOD

        1.     JJHCS objects to SaveOnSP's Interrogatories as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before January 1, 2017. Unless otherwise noted, JJHCS will only provide infonnation from

January 1, 2017 through July 1, 2022 (the "Time Period").

                           RESPONSES TO INTERROGATORIES

Interrogatory No. 1

        Identify each person who participated in or had responsibility for communications with
patients or health plans, including any communications between CarePath Care Coordinators or
JJHCS Hub Entities and patients, from January 1, 2009 through the present.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 2

        Identify each person who participated in or had responsibility for the marketing of CarePath
or other communications with the public regarding CarePath, including those mentioning Copay
Accumulator Services or Copay Maximizer Services, from January 1, 2009 through the present.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 3

       Identify each person who participated in or had responsibility for drafting or revising
CarePath's terms and conditions for each Janssen Drug, from January 1, 2009 through the present.

Response:
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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 4

        Identify each person who participated in or had responsibility for analyzing price, revenue,
cost, or other financial data for Janssen Drugs, as well as financial data for CarePath and other
Copay Assistance Programs for Janssen Drugs, from January 1, 2009 through the present.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 5

        Identify each person who participated in or had responsibility for JJHCS 's attempts to
identify health plans advised by SaveOnSP or patients enrolled in such plans.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 6

        Identify each person who participated in or had responsibility for JJHCS's attempts to limit
or eliminate the amount of CarePath copay assistance funds available to patients enrolled in health
plans advised by SaveOnSP, including JJHCS's attempts to limit or eliminate the amount of
CarePath copay assistance funds available to patients using Stelara or Tremfya.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 7

      Identify each person who participated in or had responsibility for JJHCS's or any JJHCS
Hub Entity's understanding of the terms "copay accumulator" and "copay maximizer."

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.



Dated: January 17, 2023
                                           SILLS CUMM IS & GROSS P.C.
                                           One Riverfront Plaza
                                           Newark, New Jersey 07102
                                           (973) 643-7000

                                           By:    ls/Jeffrey J. Greenbaum
                                                  JEFFREY J. GREENBAUM
                                                  KA THERINE M. LIEB


                                           PATTERSON BELKNAP WEBB & TYLER LLP
                                           Adeel A. Mangi
                                           Harry Sandick (admitted pro hac vice)
                                           George LoBiondo
                                           1133 Avenue of the Americas
                                           New York, New York 10036
                                           (212) 336-2000

                                          Attorneys for Plaintiff
                                          Johnson & Johnson Health Care Systems Inc.




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                                        CERTIFICATION

    1. I am Senior Director of Supplier Management & Operations for the Patient Engagement &

Customer Solutions group within JJHCS. I am authorized by JJHCS to execute these Responses

to Interrogatories on its behalf.

   2. I have read the attached Responses to SaveOnSP's First Set of Interrogatories.

    3. The Responses are based upon my personal knowledge, upon information supplied to me

by others, and upon JJHCS's documents, books, and records.

   4. As to Responses based upon my personal knowledge, they are true to the best of my

knowledge. As to Responses based upon information supplied to me by others and upon JJHCS's

documents, books, and records, I believe those answers to be true.

       I certify that the foregoing is true and correct.



Dated: January 17, 2022
Piscataway, NJ




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                   Exhibit 12
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  Selendy Gay PLLC                 PageID: 31232
  1290 Avenue of the Americas
  New York NY 10104
  212.390.9000


  Elizabeth H. Snow
  Associate
  212.390.9330
  esnow@selendygay.com




  February 16, 2024



  Via E-mail

  Sara A. Arrow
  Patterson Belknap Webb & Tyler LLP
  1133 Avenue of the Americas
  New York, NY 10036

  Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
           LLC (Case No. 2:22-cv-02632-JKS-CLW)

  Dear Sara,

         We write in response to your February 1, 2024 letter concerning the January
  12, 2024 meet-and-confer between SaveOn and TrialCard.

         Even in your retelling of the meet-and-confer, you admit that you violated
  the DCO. You acknowledge that, while acting as counsel for TrialCard, you “men-
  tioned in passing that, in our capacity as counsel for JJHCS, we were aware that


                        Feb. 1, 2024 Ltr. from S. Arrow to E. Snow, at 1. You do not
  dispute that you cited Ayesha Zulquarnain’s deposition, which SaveOn had desig-
  nated as at least Confidential, on behalf of TrialCard to support this assertion. 1
  Even though you deny that you shared Zulqarnain’s deposition testimony with
  TrialCard, this conduct unambiguously violated the DCO, which prohibits you
  from using Confidential information that you acquired through your representa-
  tion of J&J for any purpose other than its prosecution of this action, including on
  behalf of a third party resisting a subpoena. ECF No. 62 (“DCO”), ¶ 4. Your attempt
  to minimize the violation by stating you mentioned the testimony “in passing” does




  1 To be clear, your characterization of Zulqarnain’s testimony is inaccurate: she

  testified only about her own conduct in calls that had nothing to do with the claims
  at issue in this case.
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  Sara A. Arrow
  February 16, 2024



  not work—you cited the testimony to justify TrialCard’s refusal to produce docu-
  ments responsive to SaveOn’s subpoena.

         You point to the fact that SaveOn has “cited JJHCS materials designated as
  AEO in letters to TrialCard.” Id. In our first such letter, we specifically stated we
  did so based on the understanding that you, as counsel to both entities, had access
  to the documents, May 31, 2023 Ltr. from E. Holland to G. Carotenuto, at 1 n.1,
  and in the nine months since you did not object. Our citation of J&J’s information
  to attorneys who had already seen it does not excuse your use of SaveOn’s infor-
  mation on behalf of a purportedly separate client who had not seen it.

          Your characterization of the parties’ correspondence of December 8 and 22,
  2023 is inaccurate. On December 8, 2023, we sent you, as counsel for TrialCard, a
  letter that was inadvertently marked “Confidential” when it referred to materials
  from TrialCard and JJHCS marked “Attorneys Eyes Only.” You stated that you as-
  sumed that this Confidentiality designation “was an oversight, and that SaveOnSP
  will treat the AEO potions of the letter as such.” This exchange has nothing to do
  with your statements during the January 12, 2024 meet-and-confer.

         Finally, we requested in our January 30, 2024 letter that you tell us what
  steps you will take to ensure that similar violations of the DCO do not occur in the
  future. You have not responded to this request. Given your violation of the DCO
  and your failure to provide any assurance against future violations, we ask that
  Patterson agree to fully wall off its attorneys representing J&J in this matter from
  those representing TrialCard on this matter, and ensure that those Patterson at-
  torneys representing TrialCard have no access to Confidential information pro-
  duced by SaveOn to J&J.

           Please respond by February 23, 2024.

  Sincerely,

  Elizabeth Snow

  Elizabeth H. Snow
  Associate




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          EXHIBITS 13-15
  CONFIDENTIAL – FILED UNDER SEAL
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                   Exhibit 16
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1133 Avenue of the Americas
New York, New York 10035

Attorneys for Plaintiff Johnson & Johnson Health Care
Systems Inc.


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY




  JOHNSON & JOHNSON HEALTH CARE                    Civil Action No. 22-2632 (ES) (CLW)
  SYSTEMS INC.,
                                                   PLAINTIFF JOHNSON & JOHNSON
                       Plaintiff,                  HEALTH CARE SYSTEMS INC.’S
                                                   RESPONSES AND OBJECTIONS TO
                v.                                 DEFENDANT’S FOURTH REQUEST
                                                   FOR PRODUCTION OF DOCUMENTS
  SAVE ON SP, LLC,

                       Defendant.
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                                    GENERAL OBJECTIONS

       Johnson and Johnson Health Care Systems, Inc. (“JJHCS”) incorporates each of the

General Objections below into its specific objections to each Request, whether or not each such

General Objection is expressly referred to in JJHCS’s objections to a specific Request.

       JJHCS’s investigation of facts related to this Action is ongoing. It reserves the right to

supplement, amend, modify, or correct its responses under Rule 26(e) should it discover

additional information or grounds for objections at any time prior to the conclusion of this

Action. The following responses and objections are based upon information known at this time.

       1.      JJHCS objects to the Requests to the extent that they seek documents or

information protected from disclosure by a privilege including, without limitation, the First

Amendment privilege, the attorney-client privilege, the work-product doctrine, the joint defense

privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local Rules

of the Court, and relevant case law. The inadvertent production by JJHCS of information,

documents, materials, or things covered by any privilege or doctrine shall not constitute a

waiver of any applicable privilege or doctrine, including but not limited to, objections on the

basis of competency, confidentiality, relevancy, materiality, work-product, privilege, and/or

admissibility as evidence, as such objections may apply at trial or otherwise in this Action.

       2.      JJHCS objects to the Requests to the extent that they seek documents or

information that are not relevant to a claim or defense or to the subject matter of this litigation.

Any response JJHCS makes to any Request shall not be deemed an admission that the response,

information, document, or thing produced is relevant to a claim or defense or to the subject

matter of this litigation, is reasonably calculated to lead to the discovery of admissible evidence,

is material, or is admissible as evidence.



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       3.      JJHCS objects to the Requests to the extent that they impose obligations beyond

or inconsistent with those imposed by the Federal Rules of Civil Procedure, the Local Rules of

the Court, the Court’s orders, the discovery schedule entered in this Action, or any other

applicable rule, order, or source of law.

       4.      JJHCS objects to the Requests to the extent that they seek the production of

documents or things that are equally available to or already in SaveOnSP’s possession, custody,

or control. To the extent that JJHCS agrees in these responses to produce certain documents,

information, or things, these responses shall not be construed as conceding that the documents,

information, or things exist and/or are in the possession, custody, or control of JJHCS. Instead,

it means that JJHCS will perform a reasonable search for documents in its possession and

produce such documents, information, or things to the extent any responsive documents,

information, or things exist and are not otherwise protected from disclosure.

       5.      JJHCS objects to the Requests to the extent that they seek information that is

obtainable from sources other than JJHCS in a manner that is more convenient, less

burdensome, or less expensive.

       6.      JJHCS objects to the Requests to the extent that they seek production of

documents, records, tangible things, or other materials to the extent that such disclosure would

violate a confidentiality agreement, court order, or applicable law.

       7.      JJHCS objects to the Requests to the extent that they are vague and/or

ambiguous.

       8.      JJHCS objects to the Requests to the extent that they require interpretation by it

in providing a response. JJHCS responds to the Requests as it interprets and understands each

Request as set forth. If SaveOnSP subsequently asserts an interpretation of any Request that



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differs from JJHCS’s understanding of that Request, JJHCS reserves the right to modify or

supplement its objections and responses.

       9.      JJHCS objects to the Requests to the extent that they are duplicative of other

document requests, interrogatories, and/or other discovery requests.

       10.     JJHCS objects to the Requests to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

JJHCS further objects to the Requests to the extent that they assume facts that do not exist or

the occurrence of events that did not take place.

       11.     JJHCS objects to the Requests to the extent that they seek documents and

information relating to any business affairs other than those that are the subject of the Action.

       12.     JJHCS objects to the Requests as overbroad and unduly burdensome to the

extent they purport to require production of “all” or “any” documents where a subset of

documents would be sufficient to provide the relevant information.

       13.     JJHCS objects to the Requests to the extent that they seek the production of

documents that are not in JJHCS’s possession, custody, or control.

                               OBJECTIONS TO DEFINITIONS

       1.      JJHCS objects to the definition of the term “Benefits Investigation” to the extent

the term is used to seek documents and communications in the possession of entities other than

JJHCS. JJHCS further objects to the definition on the grounds that the phrase “receives

information regarding the pharmacy benefits provided by a health plan” is vague and

ambiguous and construes this phrase to refer to information received through investigations into

whether a patient is affiliated with SaveOnSP or another copay accumulator or maximizer

service. JJHCS further objects to the definition as irrelevant, overbroad, unduly burdensome,

and not proportional to the needs of the case to the extent that it encompasses instances in

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which JJHCS may receive “information regarding the pharmacy benefits provided by a health

plan” for purposes other than establishing whether a patient is affiliated with SaveOnSP or

another copay accumulator or maximizer service.

        2.      JJHCS objects to the definition of the term “Janssen” to the extent the term is

used to seek documents and communications in the possession of entities other than JJHCS.

JJHCS further objects to the definition as overbroad, unduly burdensome, and not proportional

to the needs of the case to the extent it purports to include “any and all predecessors and

successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, accountants and

all persons or entities acting or purporting to act on behalf” of those entities.

        3.      JJHCS objects to the definition of the term “JJHCS” to the extent it purports to

include attorneys and accountants who may be outside of JJHCS’s possession, custody, and

control. JJHCS further objects to the definition as overbroad, unduly burdensome, and not

proportional to the needs of the case to extent it purports to include “any and all predecessors

and successors in interest, assignees, parents, subsidiaries, affiliates, . . . agents, [or]

representatives” or purports to include entities and persons acting or purporting to act on behalf

of or under the control of entities other than Johnson & Johnson Healthcare Systems, Inc.,

including Centocor, Inc., Ortho Biotech Products LP, McNeil Pharmaceutical, Ortho-McNeil

Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Scios Inc., Janssen Biotech,

Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen Pharmaceuticals,

Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen BioPharma LLC, and

Janssen Research & Development LLC.

        4.        JJHCS objects to the definition of the term “JJHCS Hub Entity” as vague and



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as irrelevant to the extent it purports to include entities other than those responsible for

administering CarePath during the relevant Time Period. JJHCS further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes “any and all predecessors and successors in interest, assignees, parents,

subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf” of those entities. JJHCS further objects on the ground that the phrase

“administer, in whole or in part, CarePath” is vague and ambiguous. JJHCS further objects to

the extent the term is used to seek documents and communications in the possession of entities

other than JJHCS.

       5.        JJHCS objects to the definition of the term “Lash Group” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes “any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control

of The Lash Group, Inc.” JJHCS further objects to the extent the term is used to seek

documents and communications in the possession of entities other than JJHCS.

       6.        JJHCS objects to the definition of the term “TrialCard” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes “any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control

of TrialCard Inc.” JJHCS further objects to the extent the term is used to seek documents and



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communications in the possession of entities other than JJHCS.

                           OBJECTIONS TO THE TIME PERIOD

       1.      JJHCS objects to SaveOnSP’s Requests as overbroad, unduly burdensome, and

not relevant to the subject matter of this Action to the extent they call for documents from after

November 7, 2023. Unless otherwise noted, JJHCS will only provide information from April

1, 2016 through November 7, 2023 (the “Time Period”).

                        SPECIFIC RESPONSES AND OBJECTIONS

Request No. 58

       All documents or communications related to Benefits Investigations undertaken by
JJHCS or any JJHCS Hub Entity that identified or attempted to identify whether a Person
enrolled in CarePath was or could be a member of a health plan advised by SaveOnSP.

Response to Request No. 58

       In addition to the foregoing general objections, JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege including, without limitation, the First Amendment

privilege, the attorney-client privilege, the work-product doctrine, the joint defense privilege, the

common interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the Court,

and relevant case law. JJHCS further objects to this Request to the extent it uses the terms

“Benefits Investigations,” “JJHCS,” and “JJHCS Hub Entity” for the reasons stated in JJHCS’s

Objections to Definitions. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents

outside of the relevant Time Period.



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       Subject to the foregoing objections, JJHCS will ask TrialCard, Inc. to produce all benefits

investigation reports from the Time Period that reflect inquiries about whether a patient taking

Stelara or Tremfya is enrolled in an accumulator or maximizer program (including SaveOnSP),

to the extent such documents exist and can be located after a reasonable search. Otherwise,

JJHCS will not search for or produce documents responsive to this Request.

Request No. 59

        To the extent not covered by the previous Request, all documents or communications
related to Benefits Investigations undertaken by JJHCS or any JJHCS Hub Entity that identified
or attempted to identify whether a Person enrolled in CarePath was or could be a member of a
Maximizer or Accumulator health plan.

Response to Request No. 59

       In addition to the foregoing general objections, JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege including, without limitation, the First Amendment

privilege, the attorney-client privilege, the work-product doctrine, the joint defense privilege, the

common interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the Court,

and relevant case law. JJHCS further objects to this Request as overbroad, unduly burdensome,

and not proportional to the needs of the case to the extent it seeks documents outside of the

relevant Time Period. JJHCS further objects to this Request to the extent it uses the terms

“Benefits Investigations,” “JJHCS,” and “JJHCS Hub Entity” for the reasons stated in JJHCS’s

Objections to Definitions. JJHCS further objects to this Request as irrelevant to any claim or

defense in this Action to the extent it seeks documents unrelated to SaveOnSP. JJHCS further

objects to this Request as duplicative of Request No. 58.


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       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 58. Otherwise, JJHCS will not search for or produce documents

responsive to this Request.

Request No. 60

        Documents sufficient to show any agreements entered into or in place during the relevant
time period between JJHCS or any JJHCS Hub Entity, on the one hand, and Accredo or ESI, on
the other hand, regarding the provision of patient information or data.

Response to Request No. 60

       In addition to the foregoing general objections, JJHCS objects to this Request to the

extent it seeks information that is exempt from discovery and protected from disclosure by any

privilege including, without limitation, the First Amendment privilege, the attorney-client

privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks documents outside of the relevant Time Period.

JJHCS further objects to this Request to the extent it uses the terms “JJHCS” and “JJHCS Hub

Entity” for the reasons stated in JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to show any agreements entered into or in place during the relevant time

period between JJHCS or any JJHCS Hub Entity, on the one hand, and Accredo or ESI, on the

other hand, regarding the provision of patient information or data during the relevant Time

Period, to the extent that such documents exist and can be located after a reasonable search.

Otherwise, JJHCS will not search for or produce documents responsive to this Request.

Request No. 61

       Any patient information or data provided by Accredo or ESI to JJHCS or any JJHCS Hub

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Entity regarding Persons enrolled in CarePath.

Response to Request No. 61

       In addition to the foregoing general objections, JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “any” information or data regarding a broad subject matter. JJHCS further objects to this

Request as irrelevant to the extent that it seeks “patient information or data . . . regarding Persons

enrolled in CarePath” that is unrelated to Benefits Investigations. JJHCS further objects to this

Request to the extent it seeks information that is exempt from discovery and protected from

disclosure by any privilege including, without limitation, the First Amendment privilege, the

attorney-client privilege, the work-product doctrine, the joint defense privilege, the common

interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the Court, and

relevant case law. JJHCS further objects to this Request as overbroad, unduly burdensome, and

not proportional to the needs of the case to the extent it seeks documents outside of the relevant

Time Period. JJHCS further objects to this Request to the extent it uses the terms “JJHCS” and

“JJHCS Hub Entity” for the reasons stated in JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 58. To the extent that documents responsive to this Request are also

responsive to prior Requests for Production from JJHCS or TrialCard, subject to prior objections

and those presented here, JJHCS and TrialCard have already agreed to produce those documents

from the relevant Time Period. Otherwise, JJHCS will not search for or produce documents

responsive to this Request.

Request No. 62

        Documents sufficient to show any negotiations engaged in by JJHCS or any JJHCS Hub
Entity to obtain data from ESI or Accredo regarding Persons enrolled in CarePath, including
without limitation JJHCS’s or any JJHCS Hub Entity’s knowledge of the information available

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in such data.

Response to Request No. 62

       In addition to the foregoing general objections, JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks documents sufficient to show “any” negotiations regarding a broad subject matter. JJHCS

further objects to this Request as irrelevant to the extent that it seeks information related to

“negotiations engaged in by JJHCS or any JJHCS Hub Entity to obtain data” that is unrelated to

Benefits Investigations. JJHCS further objects to this Request on the ground that the phrase

“show any negotiations engaged in . . . to obtain data” is vague and ambiguous. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege including, without limitation, the First Amendment

privilege, the attorney-client privilege, the work-product doctrine, the joint defense privilege, the

common interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the Court,

and relevant case law. JJHCS further objects to this Request as overbroad, unduly burdensome,

and not proportional to the needs of the case to the extent it seeks documents outside of the

relevant Time Period. JJHCS further objects to this Request to the extent it uses the terms

“JJHCS” and “JJHCS Hub Entity” for the reasons stated in JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 58. To the extent that documents or communications responsive to

this Request are also responsive to prior Requests for Production, subject to prior objections and

those presented here, JJHCS has already agreed to produce those responsive documents from the

relevant Time Period. Otherwise, JJHCS will not search for or produce documents or

communications responsive to this Request.



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     Dated: November 20, 2023

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                   Exhibit 21
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January 6, 2023                                                        Harry Sandick
                                                                        (212) 336-2723
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By Email

Meredith Nelson, Esq.
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              Re:     Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC
                      (Case No. 2:22-cv-02632-JMV-CLW)

Dear Meredith:

              We write in response to your December 21, 2022 letter concerning Johnson &
Johnson Health Care Systems Inc.’s (“JJHCS”) Responses and Objections to Save On SP, LLC’s
(“SaveOnSP”) First Set of Requests for Production.

               As an initial matter, we note that the responses set out below are subject to
ongoing factual investigation and document collection efforts. We reserve all rights to revise or
amend these responses as necessary. Further, none of the responses set out below are intended to
waive any of the general or specific objections or limitations provided in JJHCS’s Responses and
Objections to SaveOnSP’s First Set of Requests for Production, or to suggest that responsive
documents exist with respect to particular requests.

I.     GENERAL ISSUES

       A.     Definition of “Janssen Drugs”

               We objected to the term Janssen Drugs “to the extent it purports to include drugs
that are not covered by CarePath.” You ask us to clarify whether the drugs BALVERSA,
DARZALEX, DARZALEX FASPRO, ERLEADA, IMBRUVICA, OPSUMIT, REMICADE,
RYBREVANT, SIMPONI, STELARA, TRACLEER, TREMFYA, UPTRAVI, and ZYTIGA are
covered by CarePath. We write to confirm our understanding that patient assistance for these
drugs is covered by CarePath.

       B.     Time Period

              We objected to SaveOnSP’s requests to the extent that they sought documents
from before January 1, 2017. SaveOnSP seeks documents for many requests dating as far back
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as 2009. We do not see the basis for extending the relevant time period beyond 2017, but would
like to further understand your position as part of the meet-and-confer process.

                For example, you assert that you are entitled to documents about the budgeting
and development of CarePath from its inception, as well as the budgeting and development of
any predecessor of the CarePath program, in order to “investigate JJHCS’s assertions that
SaveOnSP’s services make CarePath financially unviable.”               JJHCS’s assessment that
SaveOnSP’s services “jeopardiz[e] the viability of patient assistance programs like CarePath by
making them prohibitively expensive,” Compl. ¶ 114, is one that you are free to probe in
depositions and at trial, but it self-evidently turns on the added expenses caused by SaveOnSP,
and all documents about the developing and budgeting of the program have no proportionate
relationship to that general proposition. Moreover, JJHCS has already agreed to search for and
produce documents that will show that SaveOnSP is making CarePath prohibitively expensive,
including, inter alia, “all non-privileged documents and communications in its possession
relating to the extent of the harm SaveOnSP has caused JJHCS during the relevant Time Period,”
“the data that formed the basis for the allegations in Complaint ¶¶ 92-100,” “JJHCS’s budget for
copay assistance through CarePath,” and “JJHCS’s actual and projected annual costs for
CarePath.” See R&Os to Requests 25, 27, 29. Please explain why those documents, which
include budget and harm-related materials, do not suffice.

               Further, you claim that you need documents about CarePath’s budget and cost for
nearly a decade before SaveOnSP began operations, which we understand occurred in or about
November 2017, when SaveOnSP executed its Master Program Agreement with Express Scripts
Inc. Please explain how CarePath’s budget and development prior to 2017—a time when
SaveOnSP did not exist—is relevant to investigating SaveOnSP’s effect on CarePath’s financial
viability in the future. Please also explain how the budgeting and development of any
predecessors of the CarePath program, which only came into existence in 2015, has any bearing
on the present dispute.

               You also claim that you need documents from prior to 2017 in order to investigate
whether “CarePath was designed solely to help patients, not to financially benefit JJHCS.”
Please direct us to where JJHCS has claimed that CarePath was designed “solely to help
patients” and “not to financially benefit JJHCS.” Please also explain why documents prior to
2017 are needed to make such an assessment.

               Finally, you claim that you are entitled to documents relating to CarePath’s terms
and conditions from before 2017 to “fully assess the meaning and materiality of the terms and
conditions at issue in this case, as decisions about many of these terms likely predate 2017.”
Please explain what “decisions” prior to 2017 are relevant to this case, which concerns only
whether SaveOnSP wrongfully induced patients to breach CarePath’s actual terms and
conditions during the time period when SaveOnSP was in operation. Please also explain why
SaveOnSP believes it needs additional documents apart from the final terms and conditions. In
any event, on this point, to the extent that SaveOnSP is willing to produce internal documents
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that it has thus far declined to produce, we are willing to discuss an appropriate compromise
involving production from each side.

       C.      Documents in the Possession of JJHCS

              You asked whether documents created or held by employees of entities other than
JJHCS “within the J&J corporate family or involved in the administration of CarePath, including
Janssen, CarePath Care Coordinators, JJHCS Hub Entities, Lash Group, and Trial Card” are in
JJHCS’s possession, custody, and control, and would accordingly be produced by JJHCS.

                With respect to entities in the J&J corporate family, we plan to generally limit our
production to documents in JJHCS’s possession alone. The J&J corporate family consists of
more than 140,000 employees who work at over 200 subsidiaries and affiliates across the world.
Collecting and producing documents from all of these individuals and entities would be
burdensome and disproportionate to the needs of this case. JJHCS is the sole corporate entity
charged with administration of CarePath, and so it is incumbent on SaveOnSP to explain why the
collection and production of documents outside of JJHCS is necessary and proportionate to the
needs of this case. Please provide such an explanation to us, including an explanation of which
of the J&J affiliates and subsidiaries you believe are likely to have relevant documents.

                In addition, with respect to entities outside of the J&J corporate family, JJHCS
objects to SaveOnSP’s definition of “JJHCS Hub Entities” for a number of reasons, including to
the extent it purports to include entities other than those responsible for administering CarePath
during the relevant Time Period. Nevertheless, notwithstanding such objections, JJHCS will
work with Trial Card, a third-party vendor with responsibility for the administration of CarePath
during the relevant Time Period, to facilitate production of documents responsive to SaveOnSP’s
requests.

II.    ISSUES RELATED TO SPECIFIC REQUESTS

       A.      Request Nos. 1-7, 35

                SaveOnSP’s Request Nos. 1-7 seek organizational charts, including charts for
entities other than the JJHCS groups responsible for administration of CarePath. Request No. 35
seeks “documents sufficient to identify all JJHCS Hub Entities and CarePath Coordinators.”

               In response to Requests Nos. 1-7, JJHCS agreed to produce documents “sufficient
to show the organizational structure of the JJHCS groups responsible for the administration of
CarePath for the relevant Time Period.” In response to Request No. 35, JJHCS agreed to
produce “non-privileged documents in its possession sufficient to identify the entities responsible
for administering CarePath during the relevant Time Period.” We also note that while JJHCS
will not produce organizational charts for Trial Card, we will work with Trial Card to facilitate
production of such documents, to the extent they exist and can be located by a reasonable search.
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Please explain the basis for SaveOnSP’s request that we collect and produce documents beyond
this so that we can better understand your position.

               We would also like to more fully understand the reasons you provided for why
you need organizational charts beyond what JJHCS has agreed to produce. You claim that
“SaveOnSP needs documents relating to CarePath’s development, so that it can test JJHCS’s
assertion that CarePath was developed solely to benefit patients and not to benefit JJHCS
financially.” As requested in Section I.C, supra, please direct us to where JJHCS has claimed
that CarePath was designed “solely to benefit patients” and “not to benefit JJHCS financially.”
Regardless, this provides no basis for additional organizational charts.

                You claim that “SaveOnSP needs documents relating to CarePath’s finances, so it
can test JJHCS’s assertion that SaveOnSP’s conduct financially harms CarePath and threatens its
financial viability.” JJHCS has agreed to search for and produce, inter alia, “all non-privileged
documents and communications in its possession relating to the extent of the harm SaveOnSP
has caused JJHCS during the relevant Time Period,” “the data that formed the basis for the
allegations in Complaint ¶¶ 92-100,” “JJHCS’s budget for copay assistance through CarePath,”
and “JJHCS’s actual and projected annual costs for CarePath.” See R&Os to Requests 25, 27,
29. Please explain why SaveOnSP needs documents beyond this to analyze whether
SaveOnSP’s wrongful conduct financially harms CarePath and threatens its financial viability.
Again, this provides no basis for additional organizational charts.

                You claim that “SaveOnSP needs documents relating to the marketing of
CarePath, so it can explore whether JJHCS’s marketing caused any of the purported patient
confusion that JJHCS attributes to SaveOnSP.” The patient confusion alleged in the Complaint
is that created by SaveOnSP when pharmacies refuse to fill prescriptions at the point of sale
unless those patients enroll with SaveOnSP. Compl. ¶ 88. Please explain your factual basis for
claiming that such patient confusion could reasonably be attributed to JJHCS’s marketing efforts.
In particular, please direct us to specific instances of confusion identified in the complaint that
could reasonably be attributed to specific CarePath’s marketing efforts. Otherwise, this provides
no basis for additional organizational charts.

               You claim that “SaveOnSP needs documents relating to the sale, pricing, and
marketing of Janssen Drugs so that it can evaluate the relationship between CarePath and
JJHCS’s financial performance, including how JJHCS sets prices for Janssen Drugs (thus
increasing costs for health plans and patients).” Please explain how Janssen’s drug sales,
pricing, or marketing are related to the claims or defenses in this action, which concern
SaveOnSP’s misconduct in extracting funds from CarePath. Please also explain how Janssen’s
conduct is relevant in any way to this action. Again, this provides no basis for additional
organizational charts. Further, even assuming that these points were relevant, SaveOnSP and its
health plan partners already have access to extensive information concerning the pricing of
Janssen Drugs, based on their own reimbursement records for those Drugs.
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                 You claim that “SaveOnSP also needs documents relating to the drafting of
JJHCS’s terms and conditions, which JJHCS alleges that SaveOnSP induced patients into
breaching.” Please explain why the drafting of the terms and conditions with which patients
must comply is relevant to this action which is based on whether SaveOnSP has engaged in
wrongdoing when it strong-arms patients into breaching those terms and conditions. On this
point again, however, to the extent that SaveOnSP is willing to produce internal documents that
it has thus far declined to produce, we are willing to discuss a compromise.

       B.     Request No. 11

                SaveOnSP’s Request No. 11 seeks documents “regarding the development,
management, and marketing of CarePath or any other copay assistance program offered for
Janssen Drugs.” JJHCS offered to “meet and confer to determine if this Request can be
appropriately narrowed.” We do not currently see the basis for producing the materials you
request, but are willing to continue to discuss the merits of this Request.

               You claim that documents pertaining to the “development, marketing, and
management of [other copay assistance programs offered for Janssen Drugs,] as well as of
CarePath itself, are relevant to refuting: JJHCS’s assertions that SaveOnSP’s services increase
the cost and threaten the continued viability of ‘patient assistance programs like CarePath by
making them prohibitively expensive.’” Compl. ¶ 114.

                With respect to CarePath, JJHCS has agreed to search for and produce, inter alia,
“all non-privileged documents and communications in its possession relating to the extent of the
harm SaveOnSP has caused JJHCS during the relevant Time Period,” “the data that formed the
basis for the allegations in Complaint ¶¶ 92-100,” “JJHCS’s budget for copay assistance through
CarePath,” and “JJHCS’s actual and projected annual costs for CarePath.” See R&Os to
Requests 25, 27, 29. Please explain why SaveOnSP needs documents beyond this to analyze
whether its services increase the cost of CarePath and threatens its financial viability.

                With respect to the reference to “patient assistance programs like CarePath” in
Compl. ¶ 114, that is a general reference to patient assistance programs across the industry, not
other patient assistance programs for Janssen Drugs. As you know, SaveOnSP targets the patient
assistance programs of other drug manufacturers as well. JJHCS reasonably infers that
SaveOnSP’s services harm those programs in ways similar to how they have harmed CarePath.
We do not see how the “development, marketing and management” of those programs is relevant
to that inference of harm, but invite you to explain.

                You also claim that such documents are relevant to “JJHCS’s assertion that any
increase in the cost of copay assistance programs amounts to a public harm.” JJHCS claims that
SaveOnSP causes public harm by “causing undue stress and confusion through acts such as
engineering false denials of coverage; jeopardizing the viability of patient assistance programs
like CarePath by making them prohibitively expensive; and making other patient healthcare
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needs more expensive by not counting any of the funds spent on patients’ medication towards
their ACA maximum or deductible.” Compl. ¶ 114. Please direct us to where JJHCS alleges
that “any increase in the cost of copay assistance amounts to a public harm.” (emphasis added).
Please also explain how the “development, marketing and management” of such programs is
relevant to whether an increase in their costs amounts to a public harm.

                You also claim that such documents are relevant to “JJHCS’s assertion that
SaveOnSP induces patients to breach CarePath’s terms and conditions and deceives patients by
failing to inform them of that alleged breach.” Please explain how documents relating to the
“development, marketing and management” of CarePath, let alone other programs, is relevant to
whether SaveOnSP induces patients to breach CarePath’s terms and conditions. Please also
identify the elements in the relevant claims or defenses to which such documents are material.

       C.      Request Nos. 12 and 13

              SaveOnSP’s Request Nos. 12 and 13 seek documents regarding CarePath’s terms
and conditions and the CarePath requirement that patients enrolled in CarePath make payments
toward Janssen Drugs. JJHCS agreed to produce documents “sufficient to show all final
versions of CarePath’s terms and conditions for each Janssen Drug during the relevant Time
Period.”

                Seeking additional documents beyond what JJHCS has promised to produce, you
claim “JJHCS’s understanding of the terms and conditions in its CarePath contracts and the
drafting of those terms and conditions is relevant to whether SaveOnSP induced patients to
breach them, a central point for JJHCS’s tortious interference claims. Compl. ¶ 109.” As noted
in Sections I.B and II.A, supra, whether there has been a breach is dependent on SaveOnSP’s
conduct and the final terms themselves, not the back-story of the drafting of the terms and
conditions. Nonetheless, so that we can consider your demand more precisely, please identify
which terms you believe are relevant but also unclear or ambiguous on their face such that
consideration of extrinsic evidence, such as the drafting history of the terms and conditions, is
relevant to this action. Again, we are willing to discuss a compromise on this point to the extent
that SaveOnSP is willing to produce internal documents that it has thus far declined to produce.

       D.      Request No. 14

               SaveOnSP’s Request No. 14 seeks documents relating to JJHCS’s and other
entities’ “understanding of commercial health plans’ ability to designate specialty drugs as
Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care Act and its
regulations.” You claim JJHCS refused to produce any documents in response.

              You have misstated JJHCS’s response. JJHCS did not refuse to produce any
documents in response to RFP No. 14. We agreed to search for and produce “all non-privileged
documents and communications in its possession regarding SaveOnSP’s designation of specialty
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drugs as Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care
Act and its regulations during the relevant Time Period.” See R&O to Request No. 14. Subject
to the objections laid out in JJHCS’s Responses and Objections, JJHCS will produce such
documents. We hope this clarification resolves your concerns, but if there are additional
documents SaveOnSP believes it requires, please let us know.

       E.      Request Nos. 20, 41, 43

              SaveOnSP’s Request Nos. 20, 41, and 43 seek documents concerning “Copay
Accumulator Services and Copay Maximizer Services.” JJHCS in response agreed to produce
documents relating to SaveOnSP.

             You claim that documents relating to “Copay Accumulator Services” and “Copay
Maximizer Services” are relevant “because JJHCS has in its complaint blurred the lines between
SaveOnSP, accumulators, and maximizers. See, e.g., Compl. ¶ 74. Thus, documents related to
JJHCS’s understanding of accumulators and maximizers are also relevant to its understanding of
SaveOnSP’s business and the impact of that business on JJHCS.”

                First, please explain how JJHCS’s understanding of accumulators and maximizers
in general is relevant to the claims or defense in this action. Please identify the elements of any
claims and defenses and explain the relevance of these requested documents to those elements.
Second, please explain why you need documents from JJHCS to refute an allegation that
SaveOnSP falls into the category of programs described in the article cited in Compl. ¶ 74.
Please explain why SaveOnSP needs documents from JJHCS in order to compare the contours of
its own program, as borne out by its own documents and other information within SaveOnSP’s
control, against the descriptions in that article.

       F.      Request No. 21

              SaveOnSP’s Request No. 21 concerns “any advocacy to or communications with
any governmental or regulatory body regarding SaveOnSP, Copay Accumulator Services, or
Copay Maximizer.” Based on, inter alia, relevance and privilege, JJHCS declines to produce
documents in response to this Request.

                 You claim that “JJHCS’s lobbying campaign is, at a minimum, relevant to
showing that public confusion about SaveOnSP’s services is the result of actions by JJHCS and
its allies, not SaveOnSP.” As noted in Section II.A, supra, the Complaint alleges that SaveOnSP
confuses patients in part by creating rejections and delays at the point of sale. Compl. ¶ 88.
Please explain how such confusion could reasonably be attributed to any lobbying efforts by
JJHCS. In addition, please direct us to instances of confusion identified in the Complaint that
could reasonably be attributed to any lobbying efforts as opposed to the conduct of SaveOnSP
and its partners.
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               You also claim that “such communications may also show JJHCS’s understanding
of whether SaveOnSP violates the Affordable Care Act by advising plans to designate certain
drugs as Non-Essential Health Benefits.” Please explain how lobbying efforts are relevant to this
question, as whether SaveOnSP violates the Affordable Care Act is a question of law.

              Finally, please explain how requests for documents concerning JJHCS’s lobbying
of government officials are permissible given that JJHCS has a privilege against the production
of documents that would unjustifiably burden its First Amendment right to political association.
See NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 462-63 (1958).

       G.     Request No. 25

               SaveOnSP’s Request No. 25 seeks “all Documents and Communications
regarding any alleged harm caused by SaveOnSP to JJHCS, including Documents and
Communications regarding JJHCS’s allegations in Complaint ¶¶ 110, 115.” JJHCS agreed to
produce “all non-privileged documents and communications in its possession relating to the
extent of the harm SaveOnSP has caused JJHCS during the relevant Time Period, including the
extent to which SaveOnSP has caused JJHCS to pay more in copay assistance that it otherwise
would have.”

               You ask us to confirm whether “based on its response JJHCS is producing fully in
response to this Request.” Without waiving the objections and limitations in its response, JJHCS
intends to search for and produce the documents and communications it identified in its
response. We are happy to meet and confer should you have specific questions.

       H.     Request No. 26

              SaveOnSP’s Request No 26 seeks “documents and communications regarding
JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s payment of any Patient’s costs, including those
that accumulate towards the Patient’s deductible or out-of-pocket maximum.” In its Responses,
JJHCS objected to this Request on the grounds that it was vague and ambiguous and declined to
produce any documents in response to this Request.

               You now clarify that this Request “seeks documents and communications that
reflect any payments for Janssen Drugs made by JJHCS, Janssen, or any Hub Entity on behalf of
patients, both in the ordinary course of providing copay assistance and in any instance where
such entity covered a patient’s copay for a Janssen Drug in excess of what it otherwise would
have under CarePath’s terms and conditions.”

               JJHCS has agreed to produce documents sufficient to show “how JJHCS
determines the amounts of copay assistance funds that JJHCS offers to Patients enrolled in
CarePath. See R&O to RFP No. 29. Please let us know if that is sufficient or otherwise identify
the claims or defenses for which SaveOnSP believes it needs documents beyond that. Please
also let us know the rationale for seeking a broader production than what JJHCS has proposed.
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       I.      Request No. 28

              SaveOnSP’s Request No. 28 seek a variety of categories of data relating to both
Janssen Drugs (items a. through g.) and CarePath (items i. through m.). JJHCS does not believe
that documents unrelated to SaveOnSP’s misconduct, such as documents relating to the sales and
marketing budgets for Janssen drugs, are relevant to this action, but nevertheless agreed to
produce “Janssen Transparency Reports.” JJHCS also said it is willing to meet and confer
regarding items i. through m.

                You wrote that JJHCS’s does not define the term “Janssen Transparency Reports”
or clarify what responsive data is contained in those reports. To clarify, those Reports
summarize, inter alia, changes in Janssen drug prices, the amount of rebates paid for Janssen
Drugs and total spend on CarePath patient assistance. An example of such a report can be found
here: The 2021 Janssen U.S. Transparency Report, JANSSEN PHARM., INC. (2022),
https://transparencyreport.janssen.com/_document/the-2021-janssen-u-s-transparency-
report?id=00000180-0108-dccf-a981-a52ec8300000.

                You claim further that the data “SaveOnSP seeks is relevant to refuting JJHCS’s
claims that SaveOnSP threatens the viability of CarePath and causes it financial harm.” JJHCS
has agreed to search for and produce, inter alia, “all non-privileged documents and
communications in its possession relating to the extent of the harm SaveOnSP has caused JJHCS
during the relevant Time Period,” “the data that formed the basis for the allegations in Complaint
¶¶ 92-100,” “JJHCS’s budget for copay assistance through CarePath,” and “JJHCS’s actual and
projected annual costs for CarePath.” See R&Os to Requests 25, 27, 29. We invite you to
explain why it is necessary for SaveOnSP to also receive additional data, including, for the last
thirteen years, (i) a listing of “all patients receiving a Janssen Drug,” (ii) “the number of fills of
the Janssen Drug each received by each such Patient,” (iii) “the dosage of the Janssen Drug
received by each such Patient for each fill,” (iv) “the projected number of Patients, average
number of fills, and average dosage for the Janssen Drug,” as well as the other revenue and cost
data. In particular, please explain how a request for the names of each and every of the tens of
millions of patients who have received Janssen therapies over the past thirteen years is a
proportional request for information given the claims and defenses at issue in this action, to the
extent that JJHCS even has the data that SaveOnSP seeks. We are interested to understand your
rationale for this Request and to hear your explanation for why it is proportionate to this action,
particularly in light of the fact that, as explained above, SaveOnSP and its health partners already
have substantial information about the pricing of Janssen Drugs based on their own claims and
reimbursement data.

               You claim further that “there are clear parallels between the data SaveOnSP seeks
in RFP No. 28 and the data JJHCS seeks in its RFP Nos. 41 and 42” and “invite[] JJHCS to meet
and confer.” We do not understand this comparison but are willing to meet and confer to discuss
this Request further.
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       J.      Request No. 29

               SaveOnSP’s Request No. 29 seeks documents relating to CarePath’s finances.
JJHCS in response agreed to produce documents sufficient to show “(1) how JJHCS determines
the amount of copay assistance funds that JJHCS offers Patients enrolled in CarePath, (2)
JJHCS’s budget for copay assistance through CarePath, and (3) JJHCS’s actual and projected
annual costs for CarePath.”

                You claim that these documents are insufficient because the additional documents
SaveOnSP seeks, “including information on JJHCS’s return on investment for CarePath, is
relevant to refuting JJHCS’s claims that SaveOnSP threatens the viability of CarePath and causes
it financial harm.” The documents JJHCS has agreed to produce, including the CarePath budget
and actual costs, are sufficient to show the threat SaveOnSP poses to CarePath. We invite you to
explain how further documents, including JJHCS’s supposed “return on investment,” are
relevant or necessary, or how it is proportionate.

               You also claim that additional data is necessary to dispute “JJHCS’s claim that
CarePath is designed to help patients and not simply J&J’s bottom line.” As noted in Section I.C
and Section II.A, supra, please direct us to where JJHCS has claimed that CarePath was not
“designed to help . . . J&J’s bottom line.”

       K.      Request No. 30

                SaveOnSP’s Request No. 30 seeks “for each year for each Janssen Drug, all
Documents and Communications regarding the basis for Janssen’s decision to raise or lower the
price of the Janssen Drug, including labor or manufacturing costs or the increase in efficacy of the
Janssen Drug.” JJHCS declined to produce any documents in response to this Request.

                You claim that the documents requested are “relevant to JJHCS’s allegations that
SaveOnSP’s conduct threatens the viability of copay assistance” and that it has “suffered
monetary losses as a result of SaveOnSP’s conduct.” As noted above, JJHCS has agreed to
search for and produce, inter alia, “all non-privileged documents and communications in its
possession relating to the extent of the harm SaveOnSP has caused JJHCS during the relevant
Time Period,” “the data that formed the basis for the allegations in Complaint ¶¶ 92-100,”
“JJHCS’s budget for copay assistance through CarePath,” and “JJHCS’s actual and projected
annual costs for CarePath.” See R&Os to Requests 25, 27, 29. Please explain why it is
necessary for SaveOnSP to obtain documents relating to “Janssen’s decision to raise or lower the
price of” to further probe those allegations.

               You also claim that such documents are relevant to JJHCS’s allegations that
“copay assistance programs like CarePath are a public good” and “that the threatened viability of
copay assistance programs is a public harm.” Please explain how “Janssen’s decision to raise or
lower the price of” its drugs is at all relevant to whether copay assistance programs like CarePath
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are a public good. Please also explain why it is relevant to the claims and defenses in this action
whether CarePath and similar programs are a public good.

       L.      Request No. 32

               SaveOnSP’s Request No. 32 seeks all documents and communications “regarding
any offer by JJHCS to provide to any Patient any CarePath funds greater than the amounts that
JJHCS generally offers to CarePath Patients or to waive any limitation on or elimination of the
amount of CarePath copay assistance funds available to a Patient.” JJHCS declined to produce
any documents in response to this Request.

               You assert that the requested documents are “relevant to JJHCS’s allegations that
providing CarePath funds to individuals who do not qualify for CarePath threatens the viability
of copay assistance, as well as the significance of the CarePath terms and conditions at issue to
JJHCS. If, for example, JJHCS offered CarePath funds to an individual whom it believed was on
a plan that does not comply with the revised Stelara or Tremfya terms, see Compl. ¶¶ 102-03,
such an offer would be relevant to JJHCS’s allegation that providing copay assistance to patients
enrolled in such plans threatens the viability of JJHCS’s copay assistance.”

               Even if JJHCS continues to offer copay assistance to a patient who JJHCS
believes is enrolled in a health plan that does not comply with the revised Stelara or Tremfya
terms, please explain why this would be relevant to the claims at issue in this action. For
example, please explain how JJHCS’s willingness to continue to provide copay assistance to a
patient who does not comply with the Terms & Conditions would change the fact that SaveOnSP
causes JJHCS to spend more in CarePath patient assistance than it otherwise would absent the
SaveOnSP program. That a plaintiff does not enforce a term in its contract is no defense to a
claim of tortious interference. Indeed, New Jersey law is clear that a claim of tortious
interference may exist even where the underlying contract is unenforceable. See, e.g., Halebian
N.J. v. Roppe Rubber Corp., 718 F. Supp. 348, 360 (D.N.J. 1989) (“That the underlying contract
may be unenforceable is no defense to a claim of tortious interference.”); see also Mina L. Smith,
Inc. v. Cyprus Indus. Minerals Co., 427 A.2d 1114 (N.J. App. Div. 1981) (“Unquestionably, one
who unjustifiably interferes with the contract of another is guilty of a wrong. That the contract
may be unenforceable is no defense.”). We invite you to explain further why you believe such
information is relevant to the claims or defenses at issue in this action.

       M.      Request No. 34

             SaveOnSP’s Request No. 34 seeks documents and communications concerning
JJHCS’s consideration of SaveOnSP’s services for its own employer-sponsored health plan.
JJHCS declined to produce any such documents.

              You claim that “whether JJHCS considered using such services for its own
employees is relevant to JJHCS’ claims that SaveOnSP harms patients by causing stress and
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confusion, increasing costs of other healthcare, and threatening the viability of copay assistance.”
As you are no doubt aware, Johnson & Johnson did not contract with SaveOnSP. Given this
fact, please explain how Johnson & Johnson’s employer-sponsored health plan bears on any of
these issues, or more generally to the claims and defenses at issue in this action.

       N.      Request No. 36

               SaveOnSP’s Request No. 36 seeks documents “sufficient to show the economic
terms of JJHCS’s retention of or agreements with any JJHCS Hub Entity or Care Path
Coordinator regarding Care Path, including any assessment of the fair market value of those
services.” JJHCS agreed to produce agreements in its possession between it and the entities
responsible for administering CarePath for the period of January 1, 2017 to the present.

              You wrote to confirm (1) whether this production would encompass “agreements
which have in the past administered CarePath, not simply those which currently administer
CarePath” and (2) whether JJHCS will produce documents responsive to Request No. 36 that
relate to the fair market value of JJHCS’s Hub Entities’ or CarePath Care Coordinators’
services.”

                We write to confirm that JJHCS intends to produce agreements for entities that
have administered CarePath for the period of January 1, 2017 to the present, even if those entities
no longer administer CarePath today. Our current understanding is that those agreements will
include work orders that document the cost of the services provided. We do not understand any
other relevant documents to be responsive to this Request. If you seek any other documents,
please let us know and we will consider your request.

       O.      Request No. 37

                SaveOnSP’s Request No. 37 seeks documents “sufficient to show the percentage
of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS Hub
Entity, or any other third party authorized to advertise or market CarePath or Janssen Drugs.”
JJHCS declined to produce documents in response to this Request because this Request is
irrelevant to the subject matter at issue in this litigation.

              You assert that these documents are relevant to JJHCS allegations that
SaveOnSP’s conduct damages JJHCS, in part because they will “assist in demonstrating that
SaveOnSP in fact causes more patients to use Janssen Drugs than would otherwise do so.” We
do not understand this purported rationale or its connection to this document request. Please
explain how this might be the case. We do not understand SaveOnSP to make the decision to
prescribe Janssen Drugs, and the “warm transfer” that is a necessary part of SaveOnSP’s
program will naturally deter some patients from using Janssen Drugs, as the patients are told that
such medications are not covered by their health insurance unless additional steps are also taken.
We invite you to describe any efforts that SaveOnSP has undertaken to alter individual
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prescribing decisions, including whether SaveOnSP collaborates with its health plan partners to
require non-medical switching to drugs that SaveOnSP can designate as non-essential health
benefits and for which manufacturer patient copay assistance exists.

       P.      Request No. 38

              SaveOnSP’s Request No. 38 seeks all documents and communications “received
by JJHCS from any JJHCS Hub Entity or sent by JJHCS to any JJHCS Hub Entity regarding
SaveOnSP or CarePath.” As noted in our initial Responses, JJHCS agreed to produce all
documents responsive to this Request regarding SaveOnSP. See Response to Request Nos. 8, 38.

               You wrote to confirm that JJHCS will produce documents responsive to this
Request regarding CarePath generally. Please explain why a Request that seeks all documents
“regarding CarePath” and would necessarily encompass all documents exchanged between
JJHCS and any entity with whom JJHCS contracts or partners with to administer CarePath is not
overbroad or why complying with it would not be unduly burdensome. Given the Federal Rules’
emphasis on proportionality, please also explain how such burdensome discovery would be
proportional to SaveOnSP’s needs in this action. See Fed. R. Civ. P. 26(b)(1).

       Q.      Request No. 42

             SaveOnSP’s Request No. 42 seeks all documents and communications “relating
to JJHCS’s or any JJHCS Hub Entity’s understanding of the terms ‘copay accumulator’ and
‘copay maximizer.’” JJHCS responded that it would produce all non-privileged documents and
communications in its possession for the period of January 1, 2017 to the present relating to
JJHCS’s understanding of whether the terms “copay accumulator” or “copay maximizer” apply
to SaveOnSP.

              You wrote to inquire whether we would produce all documents and
communications concerning those terms more generally. You assert that such documents are
“relevant to whether JJHCS knowingly contributes to the alleged patient stress and confusion
that it attempts to attribute to SaveOnSP by conflating SaveOnSP’s conduct with that of
‘maximizers’ and ‘accumulators,’ including potentially harmful conduct commonly associated
with ‘copay accumulators’ such as non-medical switching.”

                We do not understand your assertions. This action concerns SaveOnSP’s scheme
to extract patient copay assistance funds in violation of the CarePath terms and conditions. The
patient harms, including patient “stress and confusion,” flow from how SaveOnSP operates its
profit-seeking scheme, not from any entity’s abstract understanding of the meaning of the terms
“copay accumulator” or “copay maximizer.” In light of this, please explain how JJHCS’s, a
third-party vendor’s, or partner’s understanding of these terms generally would be relevant to the
claims at issue in this action.

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             We are available to meet and confer regarding the issues outlined above at your
convenience. We look forward to your response.



                                                    Very truly yours,



                                                    Harry Sandick
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                   Exhibit 22
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  February 7, 2023



  Via E-mail

  Anthony LoMonaco
  Patterson Belknap Webb & Tyler LLP
  1133 Avenue of the Americas
  New York, NY 10036
  alomonaco@pbwt.com

  Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
           LLC (Case No. 2:22-cv-02632-JMV-CLW)

  Dear Anthony,

         We write to memorialize and follow up on our January 30, 2023 meet and
  confer regarding Save On SP LLC’s (“SaveOnSP”) Requests for Production to John-
  son & Johnson Health Care Systems, Inc. (“JJHCS”), as well as JJHCS’s January
  27, 2023 letters and JJHCS’s Responses and Objections to SaveOnSP’s First Set of
  Interrogatories.

  I.       Global Issues

           A.       Documents Related to the Development and Marketing of
                    CarePath and SaveOnSP’s Financial Impact on JJHCS and
                    CarePath (RFP Nos. 11, 26, 28-30, and 36-37)

         We explained, as we have before, that SaveOnSP’s RFP Nos. 11, 26, 28-39,
  and 36-37 seek information relevant to SaveOnSP’s defenses, including rebutting
  JJHCS’s allegations that CarePath is intended to help patients afford their medi-
  cations, see, e.g., Compl. ¶ 44, that SaveOnSP harms patients and threatens the
  continued viability of CarePath by making it “prohibitively expensive,” id. ¶ 114,
  and that the threat to CarePath’s viability constitutes a public harm for purposes
  of JJHCS’s GBL § 349 claim, id. SaveOnSP also seeks this information to discover
  whether, because of SaveOnSP, Johnson & Johnson (“J&J”) sold more drugs and
  reaped more profits than it otherwise would have, which would be relevant to
  JJHCS’s claim of damages.
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        These documents and communications are also relevant on three additional
  grounds.

         First, JJHCS has asserted that it needs a wide range of documents and com-
  munications from SaveOnSP to assess the “wrongfulness” of SaveOnSP’s conduct.
  In the context of a tortious interference claim, wrongfulness or malice “means that
  the harm was inflicted without justification or excuse.” DiGiorgio Corp. v. Mendez
  & Co., Inc., 230 F. Supp. 2d 552, 564-65 (D.N.J. 2002) (citing Printing Mart-Mor-
  ristown v. Sharp Elec. Corp., 563 A.2d 31, 37 (N.J. 1989)). The standard is com-
  mercial in nature—asking whether the “loss of business is merely the incident of
  healthy competition.” Id. at 565 (quoting Lamorte Burns & Co., Inc. v. Walters,
  770 A.2d 1158, 1170 (N.J. 2001)). If JJHCS is permitted to seek broad discovery
  into the supposed wrongfulness of SaveOnSP’s conduct, then SaveOnSP should
  also be permitted to seek discovery that will allow it to explain the broader context
  in which it operates, including the untenable position in which J&J and other phar-
  maceutical companies have placed health plans by raising specialty drug prices to
  extraordinary heights. See id.; Hotaling & Co., LLC v. Berry Sols. Inc., 2022 WL
  4550145, at *4 (D.N.J. Sept. 29, 2022) (noting that defendants may contest a tor-
  tious interference with contract claim by justifying their “motive[s] and purpose,”
  in addition to “the means used” (quoting Lamorte Burns & Co., 770 A.2d at 1171)).

         Second, JJHCS has argued that SaveOnSP causes patient harm by making
  health care more expensive for patients. Compl. ¶ 114. SaveOnSP is entitled to dis-
  covery showing that JJHCS and J&J are the true drivers of increasing health care
  costs by driving up drug prices and, as a result, forcing health plans to offset those
  increased costs by raising patient deductibles and copays.

          Third, JJHCS seeks injunctive relief in addition to damages. To obtain a
  permanent injunction, JJHCS must demonstrate “(1) it will suffer irreparable in-
  jury, (2) no remedy available at law could adequately remedy that injury, (3) the
  balance of hardships tips in its favor, and (4) an injunction would not disserve the
  public interest.” TD Bank N.A. v. Hill, 928 F.3d 259, 278 (3d Cir. 2019) (citing
  eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006)). SaveOnSP is entitled
  to discovery that will enable it to refute each of those elements, including to sup-
  port its theory that JJHCS uses CarePath as a marketing tool that distorts patient
  incentives and allows Janssen to raise the cost of its drugs year after year. This
  defense is relevant to both the balance of the equities and whether the public in-
  terest supports the permanent injunction JJHCS seeks.

         JJHCS stated that it will not produce documents responsive to these Re-
  quests because it does not believe the information sought is relevant. We under-
  stand that the parties are at impasse on this issue and may present this dispute to
  the Court for resolution.


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          B.         JJHCS Hub Entities, Janssen, and Other J&J Entities

         During our meet and confer, we further discussed your positions with re-
  spect to SaveOnSP’s requests for documents and communications possessed by the
  JJHCS Hub Entities and all other J&J and Janssen entities. These issues also bear
  on JJHCS’s responses to SaveOnSP’s Interrogatories.

                     1.   Documents Of JJHCS Hub Entities

          SaveOnSP seeks documents and communications from any JJHCS Hub En-
  tity that was or is involved in the development, administration, or marketing of
  CarePath.

         First, during our meet and confer, you told us for the first time that docu-
  ments and communications held by Trial Card and Lash Group are not in JJHCS’s
  possession, custody, or control. SaveOnSP reserves its rights to contest that posi-
  tion or to subpoena information directly from Trial Card and Lash Group.

         Second, although JJHCS previously agreed to “facilitate” the production of
  documents from Trial Card and Lash Group, in your January 27, 2023 letter and
  during our meet and confer you stated that you now would not facilitate the pro-
  duction of documents from Lash Group. You asserted that you “no longer believe
  that Lash Group had a comparable role [to Trial Card] in the administration of
  CarePath’s co-pay assistance program.” Jan. 27, 2023 Letter from A. LoMonaco to
  M. Nelson at 3. We asked for further information regarding Lash Group’s role in
  CarePath. You said that while Lash Group may have been involved with CarePath
  generally, it was not tasked with enrolling patients in CarePath or assisting patients
  with their copay assistance cards, conduct for which you claimed Trial Card was
  “the main entity that was responsible.” Instead, you maintained, Lash Group pro-
  vided other services in connection with CarePath, such as “determining coverage.”

          SaveOnSP lacks the information necessary to assess whether Lash Group
  was in fact involved in the administration of CarePath. If, for example, confirming
  that an individual’s insurance covered the Janssen Drug they sought to fill was a
  prerequisite to providing them with copay assistance, Lash Group’s conduct as you
  have described it would be part of the “administration” of CarePath. As we stated
  during our meet and confer, we request that you provide further information on
  Lash Group’s involvement with CarePath, including details on the services you
  claim Lash Group provided, the relationship between those services and the Care-
  Path copay assistance program, and the time period during which Lash Group pro-
  vided those services. Please also confirm promptly (1) whether you have completed
  your investigation into Lash Group’s involvement in CarePath; and (2) whether, as
  a result of that investigation, you have changed your position on whether you will
  facilitate the production of documents from Lash Group.

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          Third, your letter also states that you are unaware of other entities that
  “have had a comparable role [to Trial Card] in administering CarePath.” Id. As we
  explained during the meet and confer, this statement is not clear. Please tell us
  whether any entity other than Trial Card was in any way involved in enrolling pa-
  tients in CarePath, assisting patients with their copay assistance cards, or provid-
  ing any other administrative service which was also provided by Trial Card.

         Fourth, JJHCS has also refused to produce documents and communica-
  tions from any other JJHCS Hub Entity, to identify any Hub Entities involved in
  the development or marketing of CarePath (including stating whether Lash Group
  was involved in that development or marketing), or to identify any Hub Entities
  involved in the administration of CarePath prior to 2016.

          You assert in your January 27, 2023 letter that “SaveOnSP has not explained
  how documents related to the development and marketing of CarePath are relevant
  to this litigation.” Id. This is untrue. As we explained, such documents are directly
  relevant to several of SaveOnSP’s defenses—including rebutting JJHCS’s allega-
  tions that CarePath is intended to help patients afford their medications, see, e.g.,
  Compl. ¶ 44, that SaveOnSP harms patients and threatens the continued viability
  of CarePath by making it “prohibitively expensive,” id. ¶ 114, and that the threat to
  CarePath’s viability constitutes a public harm for purposes of JJHCS’s GBL § 349
  claim, id—and to contesting JJHCS’s asserted damages. See Jan. 20, 2023 Letter
  from M. Nelson to A. LoMonaco at 1-2; see also supra Section I.A.

         We therefore reiterate our request that you provide (1) the identities of Hub
  Entities involved in the development and marketing of CarePath from 2009 to pre-
  sent; and (2) the identities of Hub Entities involved in the administration of Care-
  Path from 2009 to 2016.

          Finally, you assert, without explanation, that entities that provided “lim-
  ited, episodic services to JJHCS relating to CarePath are not relevant to the litiga-
  tion.” Jan. 27, 2023 Letter from A. LoMonaco to M. Nelson at 3. Please provide a
  basis for this representation, including the identity of these vendors and further
  information on the services provided by these vendors.

                     2.   Documents Of J&J and Janssen Entities Other Than
                          JJHCS

          SaveOnSP also seeks documents and communications in the possession of
  Janssen and other J&J entities. As we have explained several times, these entities
  likely possess relevant documents and communications concerning the develop-
  ment, marketing, and administration of CarePath, as well as the development and
  marketing of Janssen Drugs. See, e.g., Jan. 20, 2023 Letter from M. Nelson to A.
  LoMonaco at 1-2; see also supra Section I.A.

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          JJHCS refuses to produce documents from any such entities or to provide a
  list of J&J and Janssen entities that may possess documents responsive to Save-
  OnSP’s Requests for Production. JJHCS has not asserted that it lacks possession,
  custody, or control over these documents.

         In our January 20, 2023 letter and during prior meet and confers, we ex-
  plained why these entities likely possess relevant documents, including the likeli-
  hood that these entities possess documents related to the pricing of Janssen Drugs,
  the purpose of CarePath, and J&J’s return on investment for CarePath. You did
  not substantively respond to this explanation in your January 27, 2023 letter or in
  our meet and confer session. Instead, your letter simply maintained that “[t]here
  is no need for JJHCS to provide any list of entities or for documents from other
  JJHCS affiliates to be produced” because “JJHCS is the entity that manages Care-
  Path and … is the only J&J entity that is a party to this action.” Jan. 27, 2023 Letter
  from A. LoMonaco to M. Nelson at 4.

          In our meet and confer, you said that JJHCS also objected to our request on
  both relevance and burden grounds. When we asked you to explain your burden
  objection, you provided no explanation other than asserting J&J and Janssen are
  “big companies” with many subsidiaries and employees. As we explained, Save-
  OnSP is not asking JJHCS to produce documents and communications from every
  J&J or Janssen entity, nor is it asking JJHCS to identify every J&J or Janssen en-
  tity, or every employee of those entities. Rather SaveOnSP seeks the identities of
  the specific J&J and Janssen entities that were involved in the development, mar-
  keting, or administration of CarePath or the development and marketing of
  Janssen Drugs and for JJHCS to produce relevant documents from those entities.
  Once you provide a list of those entities and identify relevant custodians and non-
  custodial sources, the parties can negotiate appropriate search parameters. You
  asserted (without explaining why) that it would be unduly burdensome for JJHCS
  to provide a list of such entities. You further asserted that J&J is a public company
  and that SaveOnSP should identify which entities it believes are relevant, despite
  our explanation that JJHCS is far better positioned to identify these entities.

          Because JJHCS refuses to produce documents from entities other than
  JJHCS—including other J&J or Janssen entities—or to identify such entities in-
  volved with CarePath or Janssen Drugs, we understand the parties to be at impasse
  at this issue and may present this dispute to the Court.

                     3.   Interrogatories Concerning Hub Entities, J&J, and
                          Janssen

         SaveOnSP’s First Set of Interrogatories seek information on individuals em-
  ployed by the Hub Entities, J&J, and Janssen. In response to Interrogatories 1, 5,
  and 6, JJHCS                                                                    . In

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  response to Interrogatories 2-4 and 7, JJHCS
                      .

         Based on your similar objection to our RFPs, we understand that JJHCS is
  refusing to provide the names of responsive individuals who were not employed by
  JJHCS or Trial Card in response to these Interrogatories on the basis that it views
  other entities as irrelevant. Please tell us promptly if that understanding is incor-
  rect. Otherwise, we understand the parties to be at impasse at this issue and may
  present this dispute to the Court.

          C.         Time Period

                     1.   Documents and Information Back to January 1,
                          2009 (RFP Nos. 1-7, 11-13, 28-30, and 36-37;
                          Interrogatory Nos. 1-4)

        Several of SaveOnSP’s document requests and interrogatories seek infor-
  mation dating back to January 1, 2009. As we explained in our prior letter, Save-
  OnSP selected January 1, 2009 as the starting date for RFP Nos. 1-7, 11-13, 28-30,
  and 36-37 and Interrogatories 1-4 based on its understanding of when most of the
  Janssen Drugs first went to market.

          JJHCS previously refused to produce documents and communications from
  before January 1, 2017, the date that JJHCS selected for its own requests, on rele-
  vance, burden, and proportionality grounds. In your latest letter, you offered to
  produce documents and communications dating back to January 1, 2016 for sev-
  eral of SaveOnSP’s Requests. We address those Requests in turn.

         RFP Nos. 12-13. These requests seek documents and communications con-
  cerning the drafting and revision of CarePath’s terms and conditions. SaveOnSP
  has requested such documents and communications dating back to January 1,
  2009 to ensure that it receives complete information on the drafting, revision, and
  interpretation of the terms and conditions that JJHCS alleges SaveOnSP induces
  patients to breach. JJHCS’s offer to provide responsive documents and communi-
  cations dating back to January 1, 2016 is helpful, but is insufficient if JJHCS began
  to develop CarePath before that date. We ask that JJHCS produce documents re-
  garding CarePath’s terms and conditions back to January 1, 2009 or the earliest
  date on which it began to draft those terms and conditions.

         RFP Nos. 1-7, 11, 28-30, and 36-37. RFP Nos. 1-7 seek organizational charts
  for JJHCS, Janssen, and the JJHCS Hub Entities, as well as specific groups within
  those entities. SaveOnSP has requested such documents and communications da-
  ting back to January 1, 2009 so that it can determine the full range of entities and
  persons whose conduct is relevant in this action. RFP Nos. 11, 28-30, and 36-37
  seek documents and communications relating to the development, marketing,
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  administration, and financials of CarePath, as well as the development, marketing,
  sale, and financials of Janssen Drugs. SaveOnSP has requested such documents
  and communications dating back to January 1, 2009 to ensure it receives sufficient
  information on the purpose and financial motivations behind CarePath, as well as
  the impact of SaveOnSP’s services on JJHCS and CarePath. JJHCS’s offer to pro-
  vide responsive documents and communications dating back to January 1, 2016 is
  helpful, but is insufficient if JJHCS began to develop and sell Janssen Drugs and
  to develop and administer CarePath before that. We ask that that JJHCS produce
  organizational charts for JJHCS, Janssen, and the JJHCS Hub Entities, as well as
  specific groups within those entities starting on January 1, 2009 or the earliest
  dates on which it began developing CarePath and Janssen Drugs. We likewise ask
  that JJHCS produce the requested documents and communications relating to the
  development, marketing, administration, and financials of CarePath, as well as the
  development, marketing, sale, and financials of Janssen Drugs, starting on Janu-
  ary 1, 2009 or the earliest dates on which it began developing CarePath and
  Janssen Drugs, respectively.

          Interrogatory Nos. 1-4. SaveOnSP seeks information dating back to Janu-
  ary 1, 2009 with respect to its Interrogatory Nos. 1-4. Those interrogatories con-
  cern the identities of individuals who were involved in several aspects of CarePath’s
  development and administration, including communicating with patients and
  health plans; were responsible for marketing and communicating with the public
  about CarePath; or were involved in analyzing price, revenue, cost, or other finan-
  cial data for Janssen Drugs, as well as financial data for CarePath. JJHCS limited
  its responses to Interrogatory Nos. 1-4                                         . For
  the reasons explained above, SaveOnSP requires information on individuals in-
  volved in these subject matters dating back to January 1, 2009. Please amend your
  interrogatory responses to provide the requested information.

                     2.   Documents Dating Back to January 1, 2015 (RFP
                          Nos. 14, 41, and 42)

          SaveOnSP’s RFP Nos. 14, 41, and 42 seek documents and communications
  dating back to January 1, 2015. Those requests seek information on JJHCS’s or any
  Hub Entity’s understanding of commercial health plans’ ability to designate spe-
  cialty drugs as Essential Health Benefits (“EHBs”) or Non-Essential Health Bene-
  fits (“NEHBs”) under the Affordable Care Act (“ACA”), as well as their understand-
  ing of Copay Accumulator Services and Copay Maximizers Services. As we have
  explained, January 1, 2015 is the date on which we understand the relevant provi-
  sions of the ACA and related regulations concerning EHB requirements and out of
  pocket maximums came into effect.

         In your latest letter, you reiterated your position that “extending the time
  period beyond January 1, 2017 is not appropriate for these requests.” Jan. 27, 2023
  Letter from A. LoMonaco to M. Nelson at 6. Based on your prior correspondence,
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  we understand that JJHCS objects to producing documents dating back to 2015 in
  response to these Requests on both relevance and burden grounds. JJHCS has not,
  however, quantified this burden. We therefore understand that the parties are at
  impasse on this issue and may present this dispute to the Court.

          D.         Documents and Information Related to Accumulators and
                     Maximizers (RFP Nos. 20, 21, and 41-43; Interrogatory
                     No. 7)

          Both SaveOnSP and JJHCS seek documents and communications that re-
  late to accumulators and maximizers. Several of these requests seek substantially
  similar information. As we explained during our meet and confer, for example,
  SaveOnSP’s RFP No. 20 and JJHCS’s RFP No. 45 both seek documents and com-
  munications related to studies, reports, publications, and analyses on accumula-
  tors and maximizers. Because of these similarities, SaveOnSP has offered to pro-
  duce documents and communications relating to its understanding of maximizers
  and accumulators if JJHCS is willing to do the same.

          In your January 27, 2023 letter and during our meet and confer, however,
  you refused to treat these requests reciprocally. You argued that while SaveOnSP’s
  intent and the wrongfulness of its conduct are at issue, JJHCS’s intent—and, there-
  fore, its understanding of whether accumulators and maximizers cause patient
  harm—are not.

           JJHCS’s relevance arguments are misguided. As we explained, and as
  demonstrated by the cases cited by the District Court in its recent opinion on Save-
  OnSP’s motion to dismiss, the only facet of SaveOnSP’s “intent” that is relevant to
  JJHCS’s tortious interference claim is SaveOnSP’s intent to induce breach of the
  CarePath contracts. See, e.g., DiGiorgio Corp. v. Mendez & Co., Inc., 230 F. Supp.
  2d 552, 564 (D.N.J. 2002) (describing intent as “an intent to interfere with plain-
  tiff's contract right or … knowledge that his actions would interfere with the con-
  tract right.”). You have not explained how the documents sought by JJHCS’s Re-
  quests relate to SaveOnSP’s intent to induce patients to (purportedly) breach their
  contracts. For instance, whether SaveOnSP complies with state statutes concern-
  ing accumulators and maximizers, JJHCS RFP No. 43, has no bearing on whether
  SaveOnSP intends to induce a breach of CarePath’s terms and conditions.

          At best for JJHCS, documents regarding accumulators and maximizers
  would relate to the wrongfulness of SaveOnSP’s conduct in inducing purported
  breaches, not to its intent. But, as noted above, that wrongfulness, or “malice,”
  simply concerns whether the purported breach was induced “without justification
  or excuse.” DiGiorgio, 230 F. Supp. 2d at 564-65. Courts assess that inquiry with
  reference to several factors, including: “(i) the nature of the actor’s conduct; (ii) the
  actor’s motive; (iii) the interests of the party with which the actor’s conduct inter-
  feres; (iv) the interests sought to be advanced by the actor; (v) the social interests
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  in protecting the freedom of action of the actor and the commercial interests of the
  other party; (vi) the proximity or remoteness of the actor’s conduct to the interfer-
  ence; and (vii) the relations between the parties.” Id. at 565 (citing Restatement
  (Second) of Torts, § 767 (1979)). In other words, the wrongfulness inquiry consid-
  ers facts well beyond SaveOnSP’s subjective understanding of whether its conduct
  was wrongful. If documents regarding accumulators and maximizers relate to
  whether SaveOnSP’s conduct was objectively wrongful, those documents would be
  relevant whether held by SaveOnSP or JJHCS. SaveOnSP disputes that such doc-
  uments are relevant to wrongfulness. But it is willing to produce such documents
  if JJHCS will do the same; alternatively, if JJHCS does not want to produce such
  documents, SaveOnSP would agree not to produce them either.

         SaveOnSP remains open to reciprocal productions. You stated that you
  would consider our renewed request. Please confirm promptly whether JJHCS
  agrees to making reciprocal productions on this subject matter.

  II.     Issues Related to Specific Requests

          A.         RFP No. 11

         SaveOnSP’s RFP No. 11 seeks documents and communications regarding
  the development, management, and marketing of CarePath or any other copay as-
  sistance program offered for Janssen Drugs. In our January 20, 2023 letter, we
  asked you to confirm whether J&J or JJHCS operates or previously operated any
  copay assistance programs other than CarePath. We explained that documents re-
  lated to those programs are relevant to understanding the purpose of CarePath. In
  your January 27, 2023 letter, you stated that you are not aware of any other copay
  assistance programs which J&J or JJHCS has operated since January 1, 2017. You
  also stated that any copay existence programs which pre-date January 1, 2017 are
  irrelevant to this litigation.

         During our meet and confer, you confirmed that JJHCS is refusing to pro-
  vide any information on any copay assistance programs J&J or JJHCS may have
  operated prior to 2017, including answering our question about whether any such
  programs existed. We understand that the parties are at impasse on this issue and
  may present this dispute to the Court.

          B.         RFP Nos. 12 and 13

         SaveOnSP’s RFP Nos. 12 and 13 seek documents and communications con-
  cerning various aspects of the CarePath terms and conditions. As we explained in
  our January 20, 2023 letter and during our meet and confer, SaveOnSP is entitled
  to gather parole evidence on the meaning of CarePath’s terms and conditions be-
  cause both of JJHCS’s claims are based, at least in part, on allegations that SaveOn
  induced patients to breach those terms. See Opinion Denying SaveOnSP’s Motion
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  to Dismiss (ECF No. 68), at 16 (holding that SaveOnSP’s argument concerning the
  meaning of the terms and conditions “are better suited for a motion for summary
  judgment”). The meaning of specific terms in CarePath’s terms and conditions—
  including the terms “offer” and “health plan”—are thus of central importance in
  this case, and information on what JJHCS meant by those terms when it chose to
  include them in the CarePath terms and conditions is exclusively in the possession
  of JJHCS. SaveOnSP has agreed to produce documents reflecting its internal un-
  derstanding of the CarePath terms and conditions. JJHCS has refused to do the
  same on the grounds that such documents are irrelevant.

         JJHCS’s attempt to condition its production of documents responsive to
  SaveOnSP’s RFP Nos. 12 and 13 on SaveOnSP agreeing to produce all documents
  responsive to JJHCS’s RFP No. 17 is inappropriate. JJHCS has not identified any
  term in SaveOnSP’s contracts with health plan sponsors that is at issue in this case,
  and has identified no reason why it needs every draft as well as the full negotiation
  history of those contracts. During our meet and confer, you suggested that if a
  health plan raised concerns about SaveOnSP harming patients or J&J during the
  negotiation of its contract with SaveOnSP, those communications would be rele-
  vant to JJHCS’s claims. But SaveOnSP has already agreed to produce documents
  concerning its marketing or promoting its services to health plans, JJHCS’s RFP
  No. 16, all documents related to CarePath, JJHCS’s RFP No. 23, and all documents
  and communications that SaveOnSP has received reflecting complaints, concerns,
  or inquiries about its services related to Janssen Drugs, JJHCS’s RFP No. 33.

          We understand that the parties are at impasse on this issue and may present
  this dispute to the Court.

          C.         RFP No. 14

         SaveOnSP’s RFP No. 14 seeks document and communications concerning
  JJHCS’s or any Hub Entity’s understanding of commercial health plans’ ability to
  designate specialty drugs as Essential or Non-Essential Health Benefits under the
  Affordable Care Act and related regulations. In your January 27, 2023 letter, you
  proposed a compromise with respect to SaveOnSP’s RFP No. 14 where both JJHCS
  and SaveOnSP would agree to produce non-privileged documents and communi-
  cations regarding JJHCS’s understanding of commercial health plans’ ability to
  designate specialty drugs as EHBs or NEHBs under the ACA and its regulations for
  the time period of January 1, 2017 to June 1, 2022 to the extent such documents
  exist and can be located after a reasonable search. During our meet and confer, we
  stated that we were considering your proposal and would revert with our position.

          Although we believe the parties can reach a reciprocal agreement on this
  RFP, JJHCS’s insistence on limiting its production to the period beginning Janu-
  ary 1, 2017 is inappropriate. As we explained above, supra Section I.C.2, January
  1, 2015 is the date that the relevant provisions of the ACA and related regulations
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  concerning EHB requirements and out of pocket maximums came into effect. Rel-
  evant documents concerning the parties’ understanding of commercial health
  plans’ ability to designate specialty drugs as EHB or NEHB under the ACA and its
  regulations thus likely date back to 2015.

         Please let us know if JJHCS will agree that both parties will produce docu-
  ments on this subject, with JJHCS’s search going back to January 1, 2015. Please
  also confirm that SaveOnSP’s agreement to this compromise would resolve any
  outstanding disputes with respect to JJHCS’s RFP Nos. 18, 19, and 22.

          D.         RFP No. 21

         SaveOnSP’s RFP No. 21 seeks documents and communications concerning
  JJHCS’s advocacy to or communications with governmental or regulatory bodies
  regarding SaveOnSP, accumulators, and maximizers. SaveOnSP is considering the
  points from your January 27, 2023 letter with respect to RFP No. 21 and will defer
  seeking documents responsive to this Request. SaveOnSP reserves the right to seek
  documents responsive to this Request at a future date.

          E.         RFP No. 25

         SaveOnSP’s RFP No. 25 seeks documents and communications regarding
  any alleged harm caused by SaveOnSP to JJHCS. In your January 27, 2023 letter,
  you confirmed that JJHCS will produce all documents responsive to SaveOnSP’s
  RFP No. 25. We thus understand that there are no further disputes on this RFP.

          F.         RFP Nos. 26 and 32

          SaveOnSP’s RFP Nos. 26 and 32 seek documents and communications con-
  cerning the payment of Patient’s costs, including payments in excess of the adver-
  tised cap on per-patient funds, by JJHCS, Janssen, or any Hub Entity. In your Jan-
  uary 27, 2023 letter, you proposed a compromise on SaveOnSP’s RFP Nos. 26 and
  32 in which JJHCS would provide data regarding the actual amounts paid to pa-
  tients in copay assistance, to the extent such data exists and can be located after a
  reasonable search. If that data reflects that JJHCS is in fact paying more than the
  budgeted amount of CarePath funds to certain patients, you stated that JJHCS will
  meet and confer further to determine if additional discovery is appropriate on
  those specific cases.

         During our meet and confer, we asked you to confirm whether JJHCS in-
  tends to provide patient-level data as part of this proposal. We noted that without
  patient-level data, SaveOnSP would have no one of determining if any patients had
  received more funds than CarePath’s terms and conditions would otherwise allow.
  You indicated that you were still confirming what data exists that JJHCS could
  produce. We also asked you to confirm whether JJHCS would commit to producing

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  this data early in the discovery process so that SaveOnSP can analyze the data and
  determine whether it needs additional discovery before the end of the fact discov-
  ery period. Please provide us with your responses on both issues.

         If JJHCS will provide patient-level data by Friday, March 3, 2023, Save-
  OnSP would defer its request that JJHCS search for additional documents related
  to the amount of CarePath funds paid to patients until after that production.

          G.         RFP Nos. 28 and 29

          SaveOnSP’s RFP Nos. 28 and 29 seek data regarding CarePath and Janssen
  Drugs, including patient fills and dosages for Janssen Drugs, the manufacturing
  and marketing of Janssen Drugs, copay assistance funds, the CarePath budget, and
  JJHCS’s return on investment for CarePath. JJHCS previously agreed to produce
  Janssen transparency reports (RFP No. 28) and documents sufficient to show
  “(1) how JJHCS determines the amount of copay assistance funds that JJHCS of-
  fers Patients enrolled in CarePath, (2) JJHCS’s budget for copay assistance
  through Care-Path, and (3) JJHCS’s actual and projected annual costs for Care-
  Path” (RFP No. 29). In our January 20, 2023 letter, we noted the significant simi-
  larities between certain categories of data covered by SaveOnSP’s RFP No. 28 and
  JJHCS’s request for similar data regarding drug fills in its RFP No. 41, and re-
  quested that JJHCS consider making reciprocal productions on this ground.

         In your January 27, 2023 letter, you indicated that JJHCS is willing to en-
  gage in reciprocal productions for certain portions of the data requested in Save-
  OnSP’s RFP No. 28. Specifically, you state that JJHCS “is willing to consider pro-
  ducing” the data sought by items i. through m. of RFP No. 28, which seek CarePath
  enrollment data, if SaveOnSP agrees to produce all categories of data requested by
  JJHCS’s RFP No. 41 and 42.

         If JJHCS will produce the data items sought by i. through m. of RFP No. 28
  from January 1, 2009 to July 1, 2022, 1 then SaveOnSP will expand its production
  in response to RFP 41 to include, for each Janssen Drug for each year, data suffi-
  cient to show: the total number of patients enrolled in SaveOnSP-advised plans
  who received CarePath funds for the given drug; the total CarePath funds received
  by those patients for the given drug; the pharmacies at which those patients filled
  the given drug; and the average copay or coinsurance amount for the given drug
  for patients enrolled in plans advised by SaveOnSP. Please let us know if JJHCS
  agrees to this proposal.




  1 SaveOnSP remains open to alternative start dates as described above, supra

  Section I.C.
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         JJHCS maintains that it will not produce any documents or information in
  response to items a. through g. of SaveOnSP’s RFP No. 28 on relevance grounds.
  In your letter, you ask us to explain how JJHCS’s return on investment for Care-
  Path and the relationship between CarePath and JJHCS’s ability to increase drug
  prices “would permit SaveOnSP to cause patients to breach their contracts with
  JJHCS and repurpose CarePath’s funds for SaveOnSP’s profit or would excuse the
  damages that JJHCS alleges SaveOnSP has caused.” Jan. 27, 2023 Letter from A.
  LoMonaco to M. Nelson at 11. You also ask us to “explain how SaveOnSP’s theoret-
  ical impact on ‘J&J more broadly’ excuses those same damages.” Id. As we have
  explained, several times, SaveOnSP seeks this information not to justify its alleged
  conduct but to show, among other things:

          •   That even after SaveOnSP began offering its services, JJHCS and J&J
              have continued to reap enormous profits because of their investment in
              copay assistance programs like CarePath, directly rebutting JJHCS’s al-
              legation that SaveOnSP harms patients and threatens the continued vi-
              ability of CarePath by making it “prohibitively expensive,” Compl. ¶ 114;

          •   That CarePath is not a public good but instead a means to sell more
              Janssen Drugs while raising the prices for those drugs year-after-year,
              such that any threat to its viability caused by SaveOnSP does not, as
              JJHCS’s has alleged, id., constitute a public harm for purposes of
              JJHCS’s GBL § 349 claim; and

          •   That SaveOnSP’s services have helped more patients enroll in CarePath
              than would otherwise have enrolled, helped to increase patients’ adher-
              ence to Janssen Drugs, and therefore caused J&J to sell more drugs and
              generate more profits than it otherwise would have, all of which are rel-
              evant to JJHCS’s asserted damages stemming from those same services.

  See, e.g., Jan. 20, 2023 Letter from M. Nelson to A. LoMonaco at 1-2, 9-10; supra
  Section I.A. We understand that the parties are at impasse on items a. through g.
  of SaveOnSP’s RFP No. 28 and may present this dispute to the Court. Although
  your letter did not mention RFP No. 28.h, SaveOnSP understands that JJHCS is
  refusing to produce documents or information in response to that Request on the
  same grounds as RFP No. 28.a – g, and that the parties are therefore also at im-
  passe on RFP No. 28.h.

         Finally, in our last letter, we asked whether JJHCS is willing to produce ad-
  ditional data in response to RFP No. 29. In your letter, you do not agree to provide
  any information beyond what you have already agreed to provide and ask that we
  consider whether your offer in response to RFP No. 28 is sufficient. It is not. RFP
  Nos. 28 and 29 concern different categories of data. We have offered to produce
  additional data in response to your RFP No. 41 in exchange for your agreement to
  produce additional data in response to our RFP No. 28. Nothing about that offer
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   obviates our request that you produce additional data in response to RFP No. 29.
   We remain willing, however, to explore producing additional categories of data or
   documents in response to your other requests to the extent that you are willing to
   do the same in response to RFP No. 29. Please let us know if JJHCS is willing to
   discuss a compromise along these lines.

           H.         RFP No. 34

          SaveOnSP’s RFP No. 34 seeks all documents and communications regard-
   ing JJHCS’s or Janssen’s negotiations or agreements regarding the potential use
   of SaveOnSP’s services, or the services of any Copay Maximizer Service or Copay
   Accumulator Service, for JJHCS’s Employee Health Plans, including JJHCS’s
   abandonment of those negotiations or agreements. JJHCS has thus far refused to
   produce any documents in response, asserting that such documents are irrelevant.

           These documents are relevant. As we explained, we understand that J&J or
   JJHCS conducted significant negotiations with SaveOnSP to use SaveOnSP’s ser-
   vices for the health plan it provides for its own employees, and that those negotia-
   tions ultimately ceased at the insistence of another division within J&J or JJHCS.
   As with several of SaveOnSP’s other requests, documents and communications re-
   flecting J&J’s or JJHCS’s assessment of the benefits of employing SaveOnSP’s ser-
   vices during these negotiations—irrespective of whether the parties ever executed
   a contracted—go to the credibility of JJHCS’s assertions.

          In your January 27, 2023 letter, you maintain that JJHCS will not produce
   documents in response to this request because “J&J never signed a contract with
   SaveOnSP” and “JJHCS itself was not involved in any such negotiations.” Jan. 27,
   2023 Letter from A. LoMonaco to M. Nelson at 12. But you do not address whether
   any other J&J entity was involved in such negotiations. To the extent that docu-
   ments exist that show that any J&J entity was involved in negotiations to use Save-
   OnSP’s services, those documents are relevant to JJHCS’s claims in this litigation.
   JJHCS cannot claim that SaveOnSP’s services harm patients while also holding
   back documents that show that its affiliates believed that SaveOnSP’s services
   could help both its own employees and its own employer-sponsored plans.

           We understand that the parties are at impasse on this issue and may present
   this dispute to the Court.

           I.         RFP Nos. 36 and 37

          SaveOnSP’s RFP No. 36 seeks documents “sufficient to show the economic
   terms of JJHCS’s retention of or agreements with any JJHCS Hub Entity or Care
   Path Coordinator regarding Care Path, including any assessment of the fair market
   value of those services.” JJHCS has agreed to produce agreements between JJHCS
   and the entities responsible for administering CarePath and work orders
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   documenting the cost of those services. Jan. 27, 2023 Letter from A. LoMonaco to
   M. Nelson at 12. We will defer our request for additional documents at this time
   but reserve all rights.

           With respect to RFP No. 37, as noted above, JJHCS has taken the position
   that documents responsive to this Request are irrelevant. As detailed above, supra
   Section I.A, the parties are at impasse on this Request. We also disagree with
   JJHCS’s suggestion that any dispute regarding this Request is mooted because you
   assert that “JJHCS does not keep statistics on whether patients sign up for Care-
   Path after being contacted by JJHCS or its vendors.” Jan. 27, 2023 Letter from A.
   LoMonaco to M. Nelson at 13. SaveOnSP’s RFP No. 37 seeks documents “sufficient
   to show the percentage of Patients who enroll in CarePath after being contacted by
   JJHCS, Janssen, any JJHCS Hub Entity, or any other third party authorized to
   advertise or market CarePath or Janssen Drugs.” RFP No. 37 is not limited to for-
   mal enrollment statistics, and the mere fact that JJHCS itself does not keep those
   statistics does not mean that JJHCS cannot produce documents, such as enroll-
   ment records, which would allow SaveOnSP to calculate the proportion of patients
   who enroll in CarePath after being contacted by JJHCS or its affiliates. Please con-
   firm whether any such documents exist.

   III.    Drafting and Submission of Joint Letters

           As we noted during the parties’ meet and confer, we believe JJHCS and
   SaveOnSP should agree to a schedule for submitting any outstanding discovery
   disputes to the Court in advance of the February 28, 2023 conference. We propose
   this to avoid any miscommunications between the parties over what items are in
   dispute and to provide the parties’ full positions to the Court a reasonable time in
   advance of the scheduled court conference. We propose the following schedule:

               •      Moving party provides its portion of any joint letter to the responding
                      party by February 14, 2023.

               •      Responding party provides its portion of any joint letter to the mov-
                      ing party by February 21, 2023.

               •      Moving party provides any additional edits to the joint letter to the
                      responding party by February 23, 2023.

               •      Parties finalize joint letter so that moving party may file joint letter
                      by February 24, 2023.

          So that the parties can plan accordingly, we ask that you tell us by no later
   than this Thursday, February 9 whether this schedule is acceptable to you.

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   Anthony LoMonaco
   February 7, 2023




          We remain hopeful that the parties can work through these issues to reach
   mutually agreeable resolutions. We look forward to your response and are availa-
   ble to meet and confer at your convenience.



   Sincerely,

   /s/ Meredith Nelson

   Meredith Nelson
   Associate




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                                                District of New Jersey

    Johnson & Johnson Health Care Systems Inc.

                                                                                  22-2632 (JMV) (CLW)
                  Save On SP, LLC




                                                    TrialCard Inc.
                                  2250 Perimeter Park Dr., #300, Morrisville, NC 27560


    ✔
        See attached requests for production.



        Weno Process c/o Marcus Lawing
        4711 Hope Valley Road, Ste. 4F-604                                       03/07/2023 5:00 pm
        Durham, NC 27707




          02/17/2023



                                                                                  /s/ E. Evans Wohlforth, Jr.



                                                                                                       Defendant
Save On SP, LLC
E. Evans Wohlforth, Jr., Gibbons P.C., One Gateway Center, Newark, NY 07102-5310
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